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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re: Case No. 21-11271-abl
Chapter 7
MEDOLAC LABORATORIES,
A PUBLIC BENEFIT CORPORATION, _ ) Hearing Date: OST PENDING
) Hearing Time: OST PENDING
Debtor. )
)

 

PROLACTA BIOSCIENCE, INC.’S MOTION FOR
PRESERVATION OF EVIDENCE
Prolacta Bioscience, Inc. (“Prolacta”), by and through counsel, Marjorie A. Guymon, Esq.,
of the law offices of GOLDSMITH & GUYMON, P.C., files its Motion for Preservation of
Evidence (“Motion”). Said Motion is made and based, in part, upon the action now pending in the
California Superior Court of Orange County, Case No. 30-2015-007671 16-CU-NP-CJC ("the State
Court Case"), and the pending Ex Parte Application for Order to Show Cause re: Preliminary
Injunction, and for Temporary Restraining Order to Prevent Spoilation of Evidence (“Ex Parte

Application”) therein, said action this Court having taken judicial notice thereof, all pleadings and

 

 
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papers on file herein, the Declarations of Scott Elster (ECF 303), Briana McCarthy, Esq. (ECF 330)
the Declaration of Marjorie A. Guymon, Esq. in Support of Motion for Preservation of Evidence
submitted herewith, and the oral argument of counsel upon hearing.

DATED: August 12, 2021.

 
 

By

 

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MEMORANDUM OF POINTS AND AUTHORITIES
I. Statement of Facts
1. This Court is well aware of the litigation between Prolacta and the Debtor, Medolac
(hereinafter “Medolac”). However, for preservation of the record, Prolacta provides a
summary as follows.
A. Background
2. Prolacta manufactures and sells a human-based milk product and fortifier for premature
infants. Prolacta is a private, California-based company that creates specialty products
derived from breastmilk. The firm buys milk from lactating donors and creates multiple
products, including “donor milk,” a full milk feeding product, and “human milk fortifiers.”

3. Elena Medo (“Ms. Medo”) is one of three cofounders of the Prolacta. She was relieved of

her duties as the CEO of Prolacta by the Prolacta Board of Directors in 2006. However, Ms.
Medo subsequently transitioned to a consulting role on July 15, 2008. Ms. Medo continued
to act as a consultant to Prolacta’s Board of Directors until February 26, 2009, when she

signed a Termination Agreement. Ms. Medo was the majority common stockholder in

Prolacta for three (3) years thereafter. She eventually sold all of her financial interest in

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Prolacta.

While still employed at Prolacta, Ms. Medo and her daughter, Adrianne Weir (“Ms. Weir’)
started a competing company known first as Neolac, and then after a name change, Medolac
(“Debtor”). Ms. Medo and Ms. Weir stole and utilized a number of critically important,
confidential trade secrets from Prolacta and used that purloined information to help found
and establish Debtor.

Prolacta discovered, in late 2014, that Ms. Medo, in violation of State and Federal law, had
taken and was utilizing proprietary and confidential Prolacta data. That data and information
included, but was not limited to, Prolacta customer lists, medical data bases, confidential
pricing and profit information, Standard Operating Procedures (“SOP”) which are the high-
tech recipes for creating a product, as well as the Prolacta formula and manner to create a
product known as a “Fortifier”. Ms. Medo used this information to create Debtor’s Benefit
line and Fortifier formula, as well as sell Debtor’s product to Prolacta customers.

The State Court Case

On January 20, 2015, as first amended on April 13, 2015, Prolacta, as plaintiff, filed its
original complaint against Ms. Medo individually in the Superior Court, Orange County,
California, Case No. 30-2015-00767116-CU-NP-CJC (“the State Court Case”). The State
Court Case is venued in the Orange County Superior Court, complex division. Over the
ensuing years and voluminous discovery, Prolacta amended its complaint three more times,
and now includes Debtor and Ms. Weir (collectively “Defendants”).

On November 14, 2017, Prolacta filed its Fourth Amended Complaint (the Complaint”), the
current operative complaint in the Prolacta Litigation, which asserts the following claims:
1. Conversion against the Defendants of Prolacta’s trade secret confidential
material and proprietary information, including electronic and physical files
and documents related to Prolacta’s operations, corporate structure,
management, marketing and promotional materials and presentations,

product information and price lists.

2. Intentional interference with prospective economic advantage against the
Defendants for providing Prolacta’s proprietary and confidential information
and trade secrets, disparaging Prolacta to customers, potential customers, and
Prolacta employees with the intent to steal business and employees from

Prolacta and/or with the intent to damage Prolacta’s reputation and business,
and with Debtor being vicariously liable for the harm caused.

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3. Unfair competition pursuant to California Business & Professionals Code
§ 17200, et seq., against the Defendants by: (1) acts that were unlawful,
unfair, and/or deceptive other than misappropriation of trade secret
information from Debtor by allegedly providing non-trade secret,
confidential material and proprietary information and documents to Ms.
Medo and/or Debtor; (2) by allegedly breaching their contractual obligations
to Prolacta, including ‘nondisclosure agreements and/or contractual
confidentiality provisions; (3) by allegedly deceptively and falsely
disparaged Prolacta to Prolacta’s customers, potential customers and
employees with the intent to steal business and employees away from
Prolacta and/or with the intent to damage Prolacta’s reputation and business
and in breach of Ms. Medo’s Termination Agreement, and with Debtor being
vicariously liable for the alleged harm caused.

4. Breach of alleged fiduciary duty of Ms. Medo in her capacity as an officer
and director of Prolacta and, as such, owed a fiduciary and undivided duty
of loyalty and confidentiality to it.

5. Breach of contract against Ms. Weir and Ms. Medo for alleged breaches
of Non-Disclosure Agreements by allegedly disclosing confidential and trade
secret information, proprietary data, documents and property belonging to
Prolacta after termination of their employment, and utilizing Prolacta’s trade
secret information to benefit and provide an unfair advantage to Debtor as a
competitor.

6. Breach of contract against Ms. Medo for breach of Ms. Medo’s
Termination Agreement with Prolacta for allegedly: (1) failing and refusing
to return all materials belonging to Prolacta to Prolacta; (2) utilizing
confidential proprietary information which was stolen from Prolacta; and (3)
disparaging Prolacta to customers, potential customers and Prolacta
employees.

7. Violation of the Uniform Trade Secrets Act, Cal. Civil Code § 3426 et
seq., against the Defendants for taking, acquiring, using and/or disclosing
Prolacta’s trade secrets, including customer lists, sales contact databases,
medical databases, product pricing formulae, cost information and profit
margin calculations, research and development documentation and results,
documents and records related to Prolacta’s clinical trials and product
research and other proprietary information.

8. Civil conspiracy against all Defendants.

9, Vicarious liability pursuant to Cal. Civil Code § 2338 Debtor, with Debtor
vicariously liable for Ms. Weir’s and Ms. Medo’s alleged misdeeds.

The Complaint seeks the following relief:

1. For an Order requiring defendants to show cause, if any, as to why they
should not be enjoined as hereinafter set forth during pendency of this
litigation.

2. For a temporary restraining order, preliminary injunction and a permanent
injunction, all enjoining defendants, their agents, servants and employees,
and all persons acting under or in concert with defendants:

 

 

 

 
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A. From contacting whether telephonically, in person, in writing, by
facsimile, e-mail or by any other form of electronic, written or oral
communication to any of plaintiff's customers;

B. From contracting with, and/or selling to and/or engaging in any
other business relationship with any of plaintiff's customers;

C. From divulging, making known, or making any use whatsoever of
plaintiff's confidential information and trade secrets, including any
part(s), portion(s), version(s), variation(s), derivation(s) or copy(ies)
thereof.

D. To immediately return all of plaintiff's proprietary and trade secret
information, including any and all hard copies or computerized
copies or facsimiles thereof of plaintiff's business files mcluding
plaintiffs preferential customer list and other proprietary
information;

E. To immediately return all of plaintiff's personal property;

F. For any and all other injunctive relief under California Crvil Code
Section 3426.2 to eliminate any and all commercial advantage that
otherwise could be derived from the misappropriation set forth above.

3. For payment of a reasonable royalty under California Civil Code Section
3426.2.

4. For compensatory damages and damages for loss of profits proximately
caused by defendant, in an amount according to proof exceeding the
jurisdictional minimum of this court.

5. For damages for unjust enrichment in an amount according to proof.
6. For punitive and exemplary damages in an amount to be determined.

7. For reasonable attorney's fees incurred in this action pursuant to contract
and by statute.
8. For doubling of any compensatory damages under California Civil Code
Section 3426.3(c).
9, For an Order under California Civil Code Section 3426.5 preserving the
secrecy of the trade secret information by reasonable means including the
granting of a protective order and a sealing of the records in this action
pertaining to the preferential customer list and other trade secrets.
During the pendency of the litigation, there was a tremendous amount of both motion
practice and discovery. To illustrate the volume of motion practice in the State Court Case,
there have been 1,451 filings in the State Court Case. There were multiple discovery
conferences and hearings. Prolacta and Debtor each served hundreds of discovery requests,
and served subpoenas for records on various third parties, including Salesforce.com, Inc.,

the California Department of Public Health, and the University of California, Irvine. During

the course of discovery, the parties took 60 depositions, in 13 states, and in roughly 28 cities.

 

 
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Ms. Medo in particular was deposed for more than a week. Debtor produced over 55,000
documents as part of the discovery process. The total size of this file exceeds 300,000
pages, filling dozens and dozens of banker boxes, plus a massive amount of electronic data.
During the course of discovery, Ms. Medo and Debtor were sanctioned a total of six times
for a total of almost $30,000 for their abuse of the discovery process.

Prolacta obtained two experts to address monetary damages, Brian Daniel, MBA, and David
Weiner. Both experts supported substantial monetary damages suffered by Prolacta in the
State Court, providing expert opinions under penalties of perjury.

On September 10, 2019, the California State Court Judge Glenda Sanders continued the trial
to January 6, 2020, with all discovery to be completed by December 5, 2019. On January
13, 2020 the Court continued the trial to February 24, 2020, with a pre-trial conference on
January 29, 2020. The trial estimate was 28 days.

Trial in the Prolacta Litigation was expected to be lengthy. For example, the parties filed
a list of 60 expected witnesses and estimated their testimony lasting more than 245 hours
(and thus more than 30 days at 8 hours a day), and an exhibit list that contained 2,180
potential exhibits.

On February 24, 2020, trial in the Prolacta Litigation began before a jury, and Prolacta began
putting on its case-in-chief. Several key witnesses took the stand, including Dr. Diniz, the
former chief medical officer for Debtor. Dr. Diniz testified that Debtor utilized stolen trade-
secret SOP’s from Prolacta, in the formulation of Debtor’s product. However, trial was
stopped after several weeks on March 12, 2020, due to order of the Governor of California
and Presiding Judge closing the courts due to the COVID-19 pandemic.

On May 26, 2020, Prolacta sought a mistrial due to the delay in the proceedings, and the
California State Court entered an order on September 14, 2020.

On January 12, 2021, the California State Court held a Status Conference and ordered that
trial in the Prolacta Litigation would re-commence anew from the beginning starting on
January 10,2022. The retrial, just like the original trial, is expected to take a month or more

of trial time, and involve the an extensive number of exhibits and witnesses.

 

 

 
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The Bankruptcy
On March 17, 2021, Debtor filed Chapter 11 Bankruptcy, Subchapter V. See ECF No. 1.

On March 18, 2021, Brian D. Shapiro was appointed Subchapter V Trustee. See ECF No.
7.

Among Debtor’s first day motions was a DIP Financing Motion. See ECF No. 19. Prolacta
filed a limited opposition to this DIP Financing Motion, informing the Court and all parties
in interest that to the extent the Debtor was proposing to pledge assets belonging to Prolacta,
Prolacta opposed the DIP Financing Motion. See ECF No. 64.

This Court granted the DIP Financing Motion on April 26, 2021. See ECF No. 90.
Subsequent thereto, the DIP Lender issued a super-priority loan of $500,000 to Debtor,
secured by a blanket lien on all Debtor’s assets.

Debtor filed its Schedules on March 30, 2021. See ECF No. 50. Among the assets listed are
assets owned by Prolacta and the subject of the State Court Case.

Prolacta filed its Motion for Relief from the Automatic Stay (“Motion for Relief’) on April
7, 2021. See ECF No. 66. The matter was heard on May 12, 2021, oral findings of fact,
conclusions of law and—having found cause—a favorable ruling given on May 26, 2021, and
the Order for Relief entered on June 4, 2021. See ECF No. 213.

Prolacta and Liquid Gold filed independent Motions to Dismiss on May 13, 2021 (See ECF
No. 124) and May 14, 2021 (See ECF No. 136). Both Motions to Dismiss were heard and
subsequently granted on July 2, 2021. See ECF No. 234. Specifically, this Court
independently granted both Motions to Dismiss for cause and converted Debtor’s case to a
Chapter 7. An Order Converting the case was entered on July 7, 2021. See ECF 237 and
237.

As part of the State Court Case discovery process, Ms. Medo provided a declaration dated
March 2, 2020 in which she referred to four prior laptops that she previously testified had
been damaged. It became clear that Ms. Medo had perjured herself and withheld evidence.
During trial, the California Court ordered that Defendants produce whatever still existed of

the computers and explain what happened to them and the data on them. However, Covid-19

 

 
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hit, the trial never resumed and a mistrial was declared. See Declaration of Briana
McCarthy, Esq., ECF 330.

The Trustee’s Motion to Approve Settlement contains an Exhibit 5 describing 9 laptops and
17 desktops, identifying one purchased in 2013, two purchased in 2014, three purchased in
2017, and two purchased in 2018. This contradicts Ms. Medo’s testimony that she only had
one laptop, or that she only had four laptops. Specifically, Prolacta is entitled to prevent
spoliation of 32 estate assets listed by the Trustee, with a total combined value of $2,000,
that constitute and/or contain relevant evidence in the state court case. Any acts that would
cause or contribute to spoliation should be enjoined. Those 32 assets are the laptops
computers, desktop computers, printers, mobile devices and equipment listed in ECF 279
at Exhibit 5, at rows 127-134, 139-140, 142, 146-151, 153-154, 156-163 and 169; as well as
any and all data storage media (e.g., external hard drives, flash drives, CDs, DVDs, data
back-up device/equipment) that were owned by Ms. Medo or Medolac, and which are now
part of the Medolac estate.) See Id.

Due to the Trustee’s attempt to transfer assets, including assets of Prolacta and evidence in
the State Court Case, Prolacta’s State Court Case counsel issued a July 28, 2021 Preservation
Letter to the Trustee to protect and preserve evidence the subject of various items of
concealed evidence. See ECF No. 300, Trustee’s Third Supplement to Motion to Reinstate
the Stay as to Prolacta, Exhibit 1. See also, Declaration of Briana McCarthy, Esq., ECF
330. A Preservation Letter was also sent to the DIP lender, Doug Hughes, on July 28, 2021.
The Trustee did not consent to the preservation of evidence, and Prolacta sought an Ex Parte
Application for Order to Show Cause Re: Preliminary Injunction, and for Temporary
Restraining Order to Prevent Spoilation of Evidence - in particular the computers, electronic
data and other digital evidence currently in the custody and control of the Trustee
(“Application”) in the California Superior Court. Id.

The Trustee filed a Motion to Reimpose the Stay as to Prolacta. See ECF No. 260. Asa
result, Prolacta elected to reduce its claim to $0 and focus on its claims pertaining to the theft

of its assets in the State Court Case. See Claim No. 28. Prolacta also filed a Motion to

 

 
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Withdraw Proof of Claim, ECF No. 294, and set the matter on shortened time for August 24,
2021. See ECF 308.

The Trustee’s Motion to Reimpose the Stay was heard on shortened time on August 6, 2021,
and an oral ruling given by the Court on August 9, 2021, wherein due to a procedural error
and not substantive grounds, the Trustee’s motion was granted, without prejudice.

As a result of this Court’s order reimposing the stay, Prolacta is unable to proceed with the
preservation of evidence in the State Court Case. However, to be clear, the laptops in Ex.
5 are presumably all of the Medolac laptops, not just Ms. Medo’s. Her testimony at
deposition is largely that she only has her current laptop, and all prior laptops were
destroyed/damaged/crashed. Her declaration addresses 3 laptops, but Prolacta believes she
had approximately 7 laptops. She consistently claims, both at her depositions and in her
declaration, that the only laptop she still has is her current laptop and that all data on the
prior laptops was lost due to hard-drive crashes/damage to the computer. Prolacta believes
approximately 4-7 of the laptops listed in Exhibit 5 are Ms. Medo’s laptops, and in
particular, the laptop purchased in 2013 [row 129], at least one of the laptops purchased in
2014 [row 139], the Asus laptop purchased in 2017[row 157], and at least one of the laptops
purchased in 2018 [rows 159, 162]. Ms. Medo’s testimony establishes that she had a
minimum of 4 laptops, at least 3 of her prior laptops were destroyed, and the single laptop
in her possession, custody or control is her current laptop which was purchased in 2018. Her
testimony is plainly contradicted by the fact that the Trustee’s inventory lists 9 laptops, 8 of
which match the descriptions and approximate time of purchase of the 4 laptop computers
to which she testified.

Prolacta has requested that the Trustee allow its forensic expert to access the assets in
question in order to copy the contents contained on the computers/laptops/printers; however,
the Trustee has failed to respond other to state that he is not in possession of the assets;
rather, the DIP Lender now holds possession. See Declaration of Marjorie A. Guymon, Esq.

in Support of Motion for Preservation of Evidence submitted herewith.

 

 

 

 
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Prolacta has also requested of the DIP Lender access to the assets in order to preserve the
content prior to any sale or execution on foreclosure. As of the date of the filing of this

Motion there has been no reply.
The Trustee filed a Motion to Approve Settlement and Declaration thereto on July 19, 2021.
See ECF No. 279 and 280. The matter was set on shortened time for August 6, 2021. See

ECF No. 287.

Of the assets listed in Trustee’s Settlement are “Claims Against Prolacta and Claims arising
out of intellectual property” of an unknown amount. See ECF No. 279, Page 4 of 52. The
Trustee intends on retaining these claims with the possibility of assignment to the DIP
Lender should the Trustee decide not to pursue the claims. See ECF No. 279.

At the hearing on the Trustee’s Motion to Approve Settlement he represented as follows:

I went to the location and I obtained a spreadsheet

which was provided, and it was attached to this motion. I
believe it's Exhibit Number 5, and it was represented to me
that all of those assets were located on the premises. It is

not a small premises, Your Honor. It is fairly large. Imagine
a grocery store, a large grocery store, that was changed into
this business. Huge freezers and other equipment was located
on the premises, and I was assured that the items that were on
that list were located in the property, and I put that within

my declaration. But the list, for avoidance of doubt, was
produced by the debtor's principals, and that's where that
spreadsheet came from.

Again, I obtained that because I knew that the estate

was going to lose control of that location in favor of the DIP
lender pursuant to the DIP lender's underlying agreement. In
fact, they did lose control as the DIP lender had taken
possession of all of the collateral, pursuant to its rights

under the agreement and pursuant to this prior order in essence
terminating the stay.

See Exhibit A, TRANSCRIPT OF ORDER SHORTENING TIME RE: MOTION TO
APPROVE SETTLEMENT, 52-53:15-8.

Prolacta requested the same due diligence as provided to Mead Johnson and the Trustee has
refused. The Trustee admitted Mead Johnson, a potential bidder of the purchase of the assets
of the Estate, was afforded some due diligence by the Trustee.

After the filing of the motion, several creditors or
several parties of interest, I should say, came to the

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trustee's attention that were potentially interested in

purchasing the assets of the estate. One of those is Prolacta,
and the other is Mead Johnson. Mead Johnson had the ability to
do a little bit of due diligence based upon the limited
information and documents that the estate was able to obtain.

I say estate. I mean myself as trustee and in fact, I think

spent about nine hours at my office going through documents
that the estate had.

See Exhibit A, TRANSCRIPT OF ORDER SHORTENING TIME RE: MOTION TO
APPROVE SETTLEMENT, 55:13-22.

I would also note that I was happy

that we had Mead Johnson actually do some due diligence, and

kick the tires.

See Exhibit A, TRANSCRIPT OF ORDER SHORTENING TIME RE: MOTION TO
APPROVE SETTLEMENT, 60:21-23.

The Trustee admits that the Estate cannot sell assets that are not property of the Bankruptcy
Estate nor certain Estate assets that are subject to claims of ownership by third parties.
They were aware -- this is being Mead Johnson.

They're aware that the estate could not sell assets that were

not property of the bankruptcy estate. However, the estate was

unable to make a determination as to what assets the estate

actually owns, in particular, the fortifier, which is the -- I

guess the big issue that's in dispute with Prolacta.

See Exhibit A, TRANSCRIPT OF ORDER SHORTENING TIME RE: MOTION TO
APPROVE SETTLEMENT, 55-56:23-3.

Prolacta and the Trustee came to an understanding wherein the Trustee would convert the
9019 Motion to Approve Settlement to a 363 Sale Motion, with Prolacta as the initial bidder
at $1,650,000. The Trustee stated to the Court that this was a better offer than settling with
the DIP Lender.

Conversely, and probably more importantly at this

time, Prolacta has made a -- and I'm sure Ms. Guymon will

advise this Court in a moment, what I consider to be a firm

offer as well as a better offer than what the proposed

settlement is with the DIP lender,...
See Exhibit A, TRANSCRIPT OF ORDER SHORTENING TIME RE: MOTION TO

APPROVE SETTLEMENT, 56:14-18.

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I was going to present the motion to approve the

settlement, and suggest, Your Honor, That that motion was
certainly in the best interests of the bankruptcy estate, and

that the ANC factors clearly were met, despite the opposition
which was filed by Prolacta, but based upon the representations
that were made to me this morning at approximately 9:15 a.m.,
and confirmed by emails, it would be clear to the estate that

the offer which is being made by Prolacta is a better offer

than the settlement motion which is being heard today.

See Exhibit A, TRANSCRIPT OF ORDER SHORTENING TIME RE: MOTION TO
APPROVE SETTLEMENT, 58-59:23-6.

In fact, the Trustee represented, and Prolacta confirmed, the terms of the offer to the Court.

MR. SHAPIRO: ...that they're willing to make an initial binding
overbid offer on the settlement in the amount of $1,650,00 for
any and all assets of the estate excluding cash, account
receivables, and all causes of action in an as-is/where-is
condition, without any representations or warranties, including
but not limited to transferability of such assets, and that
Prolacta, by and through Ms. Guymon, has advised me that her
client is going to wire such funds into her trust account later
today.

See Exhibit A, TRANSCRIPT OF ORDER SHORTENING TIME RE: MOTION TO
APPROVE SETTLEMENT, 57:7-15.

MS. GUYMON: Yes, Your Honor. The terms that were

set forth on the record by Mr. Shapiro are accurate. My

client, maybe not happily, but in order to preserve the

evidence and preserve its property interests, has agreed to pay
$1,650,000 and wire those funds into my trust account, and has
agreed to the trustee's requests for no representations or
warranties as to the assets.

See Exhibit A, TRANSCRIPT OF ORDER SHORTENING TIME RE: MOTION TO
APPROVE SETTLEMENT, 69:9-15.

The DIP lender agreed that Prolacta’s offer was a better offer and he was willing to delay
execution to allow the sale to proceed.

I mean, assuming Prolacta follows through and makes the

deposit into Ms. Guymon's trust account, and the trustee

receives confirmation of that today, I think a robust 363

process with a sale free and clear of liens would benefit the
estate.

See Exhibit A, TRANSCRIPT OF ORDER SHORTENING TIME RE: MOTION TO
APPROVE SETTLEMENT, 68:19-23.

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Prolacta represented to the Trustee and provided proof that the wire was accomplished. See
Declaration of Marjorie A. Guymon, Esq. in Support of Motion for Preservation of Evidence
submitted herewith.

The Trustee and Prolacta worked diligently through the weekend and into Monday and
Tuesday (August 9 and 10) to prepare the Purchase and Sale Agreement and the Motion for
an order establishing Bidding Procedures for the sale of substantially all of the assets of the
bankruptcy estate, approving form and manner of the sale Set Auction Date and Sale
Hearing; Approve Form of Order on Sale; and Grant Related Relief. These documents were,
in essence, finalized on August 10". See Declaration of Marjorie A. Guymon, Esq. in
Support of Motion for Preservation of Evidence submitted herewith.

On August 9, 2021, due to this Court’s oral ruling reinstating the automatic stay on
procedural grounds, in the abundance of caution in order to avoid the loss of Prolacta’s
assets and preserve evidence, Prolacta counsel contacted those entitled to weigh in on
Prolacta’s request for an Order Shortening Time on its Renewed Motion for Relief From
Stay. Almost unanimously, the response was no. See Id.

Although an email was circulated clarifying Prolacta’s primary objective was to preserve its
evidence for the State Court Case, the Trustee subsequently sent an email on August 10,
2021 at 6:09 p.m. to Prolacta counsel advising that “the Estate has serious concerns that such
a motion and (even the request via email) could or has chilled the potential of third-party
bids.” The Trustee further stated that in order for the Estate to proceed with any agreement
for the purchase of estate assets “the Estate has decided that it is not willing to enter into any
agreement with Prolacta without the support of Liquid Gold.” See Id.

Prolacta counsel contacted Liquid Gold counsel to discuss its concerns with the proposed
purchase of the Estate Assets. It is Prolacta’s understanding that Liquid Gold will only
support Prolacta’s purchase of the assets if the starting bid is increased to $2 Million. Id.
As of the filing of this Motion, there is no stalking-horse bid, there is no 363Sale Procedures
Motion, and Prolacta assumes no sale of assets will be accomplished at the continued

hearing on the Trustee’s Motion to Approve Settlement on August 24, 2021. Id.

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46.  Prolacta seeks this Court’s order directing the Trustee/Hughes that they are required to
preserve this evidence and produce it to Prolacta for photographing, forensic examination
and copying in compliance with the law as set forth below.

II. Statement of Law and Argument

Federal Law is clear that a party to litigation has a responsibility to preserve evidence.
Rimkus Consulting Group, Inc. vy. Cammarata, 688 F.Supp.2d 598, 612 (S.D. Tex. 2010) (quoting
John B. v. Goetz, 531 F.3d 448, 459 (6th Cir. 2008) ); Toth v. Calcasieu Parish, No. 06-998, 2009
WL 528245, at *1 (W.D. La. Mar. 6, 2009) (citing Zubulake v. UBS Warburg, L.L.C., 220 F.R.D.
212, 216 (S.D.N.Y. 2003) ); Inre Krause, 367 B.R. 740, 764 (“A duty to preserve evidence arises
when the party has notice that the evidence is relevant to litigation or should know that the evidence
may be relevant to future litigation”); Stillwater Liquidating LLC v. Net Five at Palm Point, LLC
(In re Stillwater Asset Backed Offshore Fund Ltd.), Adv. No. 14-02245, 2017 WL 1956848, at *5
(Bankr. S.D.N.Y. May 10, 2017) (“Parties have a duty to preserve documents that they know or
should know could be relevant to pending, imminent, or reasonably foreseeable litigation.”).

The Trustee has a duty to preserve evidence under his responsibility and control the subject
of pending litigation. See Kronisch v. United States, 150 F.3d 112, 130 (2™4 Cir. 1998)(Trustee has
an uncompromising duty to preserve relevant evidence whenever litigation is pending). “The
obligation to preserve evidence arises when the party has notice that the evidence is relevant to
litigation or when a party should have known that the evidence may be relevant to future litigation.”
Zubulake vy. UBS Warburg LLC, 220 F.R.D. 212, 216 (2003). See also, Philips Electronics Nor.
Amer. Corp. v. BC Technical, 773 F. Supp.2d 1149, 1159 (2011)(Under the federal rules, the
litigants and counsel were expected to take the necessary steps to ensure that relevant records were
preserved when litigation was reasonably anticipated or began, and that those records were
collected, reviewed, and produced to the opposing party during the discovery process.)

The Trustee is the legal representative and fiduciary of Debtor/Defendant Medolac, an
officer of the court, and stands in the shoes of the Debtor with regard to claims against the same.
See 11 USCA §§ 323, 541, 544, 704(1); see also, Trustee v. Joseph (In re Joseph), 208 B.R. 55, 60
(B.A.P. 9" Cir. 1997); In re Cont’ Coin Corp., 380 B.R. 1,5 (Bankr. C.D. Cal.2007); Sherman

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v. FSC Realty LLC (In Re Brentwood Lexford Partners, LLC, 292 B.R. 255, 272 (Bankr. N.D.
Tex.2003); Hedrick v. Tennessee Valley Authority Board of Directors, 2014 WL 1515422
(E.D.Tn. 2014).

Given the above, the Trustee has a duty to preserve Medolac’s computers, laptops, printers,
data storage media, and all data contained thereon as Prolacta is entitled to conduct a forensic search
of all the equipment and to preserve all evidence for use at trial. Prolacta has attempted to work with
the Trustee on the preservation of all relevant evidence and minimize the impact to the Bankruptcy
Estate. See Declaration of Briana McCarthy, Esq., ECF 330; see also Declaration of Marjorie A.
Guymon, Esq. in Support of Motion for Preservation of Evidence submitted herewith.

At the initial hearing on Prolacta’s Application (August 2, 2021), the California Superior
Court acknowledged this Court’s superior authority as it relates to the property of the estate,
requested instruction from the Bankruptcy Court clarifying whether the Order Lifting the Stay
includes granting her authority to issue orders to enforce prior orders of the California Court and
exercise her police power to preserve evidence, and continued the matter to August 9, 2021 at 1:30
p.m. This hearing has since been vacated due to the Court’s oral ruling of August 9" reimposing
the stay. Id.

It is Prolacta’s desire that this Court either instruct the California Superior Court that it is
able to rule on the Application under its police powers even when that evidence is part of the
Bankruptcy Estate, including a preliminary injunction if found appropriate, restraining and enjoining
Medolac, Trustee, Hughes, and each of their, attorneys and agents, from selling, purchasing,
conveying, transferring, removing, concealing, destroying, purging, foreclosing upon or otherwise
disposing of the laptops computers, desktop computers, printers, mobile devices and equipment
listed in Prolacta’s Ex Parte Application, including any and all, data storage media (e.g., external
hard drives, flash drives, CDs, DVDs, data back-up device/equipment) that were owned by
Debtor/Defendant Medolac, and which are now part of the Medolac estate, until 30 days after
completion of trial in the case pending in state court, or that this Court enter an order to preserve

evidence. See ECF 330, Declaration of Briana McCarthy, Esq.

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The Trustee is attempting to dispose of absolutely essential evidence in the State Court Case
without regard to Prolacta’s rights, thus unjustly bolstering the Estate’s ability to defend the State
Court Case while seeking to pursue yet undisclosed and likely time-barred claims of Medolac
against Prolacta.

The Trustee has rejected “a firm offer as well as a better offer than what the proposed
settlement is with the DIP lender” because Prolacta is asserting its absolute right to demand the
preservation of evidence for the State Court Case, suggesting this will quell bidding. Rather than
simply allow Prolacta access to the computers/laptops/printers to preserve the evidence by
stipulation, the Trustee rescinded his agreement as represented to this Court and forced Prolacta to
seek remedy through the Court as requested herein. The Trustee has dealt unfairly with Prolacta,
refusing to allow Prolacta the same due diligence as Mead Johnson with regard to the purchase of
the Estate assets or allow Prolacta to inspect the assets.

The Trustee attempts to excuse his behavior by suggesting that the DIP Lender now has
possession of these items. However, the Trustee’s duty to preserve extends to assets he does not
have possession. Jn re Correra, 589 B.R. 76, 133 (Banrk. N.D. Texas 2018). The Correra court
also held that a federal court has the inherent power to sanction a party who has abused the judicial
process, and that the spoliation of evidence is one such abuse. Id. at 127, citing Ashton v. Knight
Transp., Inc., 772 F.Supp.2d 772, 799 (N.D. Tex. 2011). Spoliation is the “destruction or material
alteration of evidence or the failure to preserve property for another's use as evidence in pending or
reasonably foreseeable litigation.” Silvestri v. Gen. Motors Corp., 271 F.3d 583, 590 (4th Cir. 2001)
(citing West v. Goodyear Tire & Rubber Co., 167 F.3d 776, 779 (2d Cir.1999) ); BLACK'S LAW
DICTIONARY 1531 (9th ed. 2009); U.S. v. Parks (In re Krause), 367 B.R. 740, 764 (Bankr. D.
Kan. 2007) (defining spoliation as “the destruction or significant alteration of evidence, or the
failure to preserve property for another's use as evidence in pending or reasonably foreseeable
litigation’).

Furthermore, as the Court witnessed at the hearing on August 6", the DIP Lender is
supportive of the sale of assets and amenable to the requests of the Trustee.

..1 was going to just make | guess
the offer that my client -- I mean, my client is obviously

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interested in having the settlement approved, but understands
that, you know, the trustee has to do what's in the best
interests of the estate, and, you know, my client is interested
in what's best for the estate and creditors as well.

See Exhibit A, TRANSCRIPT OF ORDER SHORTENING TIME RE: MOTION TO
APPROVE SETTLEMENT 67:14-19.

...But I was going to offer

to -- my client has instructed me that he will delay that --
voluntarily delay that foreclosure process so that a more

robust, I guess, 363 process can occur, and instead of, you

know, having it next week, would refrain from foreclosure for a
two-week period, just to have a more robust procedure, as the
Court is alluding to.

Id. at 68:3-9.

I just -- I mean, I think

with -- I mean, assuming Prolacta follows through and makes the
deposit into Ms. Guymon's trust account, and the trustee
receives confirmation of that today, I think a robust 363

process with a sale free and clear of liens would benefit the
estate.

Id. at 68:18-23.

Prolacta specifically does not request this Court issue a preliminary injunction as the same
requires the filing of an adversary proceeding. See Federal Rules of Bankruptcy Procedure, Rules
7001(7) and 7065. Prolacta has always maintained its desire to proceed with its jury trial in the
Complex Division of the California Superior Court before the Judge who previously impaneled and
conducted the jury trial for three weeks. Filing an adversary proceeding would further dilute
Prolacta’s attempts to avoid submitting the State Court Case to this Court’s jurisdiction.

However, this Court has authority to instruct the California Superior Court or otherwise enter
an order requiring the Trustee and/or the DIP Lender to preserve evidence pursuant to those cases
cited above. Also, this Court has broad discretion to prevent an abuse of process under 11 U.S.C.
§105(a) which provides:

The court may issue any order, process. or judgment that is necessary or appropriate

to carry out the provisions of this title. No provision of this title providing for the

raising of an issue by a party in interest shall be construed to preclude the court from,

sua sponte, taking any action or making any determination necessary or appropriate
to enforce or implement court orders or rules, or to prevent an abuse of process.

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II. Conclusion

WHEREFORE, Prolacta respectfully requests that this Court either instruct the California
Superior Court that it is able to rule on the Application under its police powers even when that
evidence is part of the Bankruptcy Estate, including a preliminary inj unction if found appropriate,
restraining and enjoining Medolac, Trustee, Hughes, and each of their, attorneys and agents, from
selling, purchasing, conveying, transferring, removing, concealing, destroying, purging, foreclosing
upon or otherwise disposing of the laptops computers, desktop computers, printers, mobile devices
and equipment listed in Prolacta’s Ex Parte Application, including any and all, data storage media
(e.g., external hard drives, flash drives, CDs, DVDs, data back-up device/equipment) that are owned
by Debtor/Defendant Medolac, and which are now part of the Medolac estate, until 30 days after
completion of trial in the case pending in state court, or in the alternative that this Court enter an
order to preserve evidence. Specifically Prolacta seeks this Court’s order directing the Trustee/DIP
Lender that they are required to preserve this evidence and produce it to Prolacta for photographing,
forensic examination and copying in compliance with the law as set forth.

DATED: August 12, 2021.

 

By:

 

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EXHIBIT A

TRANSCRIPT OF ORDER SHORTENING TIME RE: MOTION TO APPROVE
SETTLEMENT

 

 
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA (LAS VEGAS)

IN RE: . Case No. 21-11271-abl
Chapter 7

MEDOLAC LABORATORIES, A -

PUBLIC BENEFIT CORPORATION, . 300 Las Vegas Blvd. South

. Las Vegas, NV 89101
Debtor.

Friday, August 6, 2021
9:38 a.m.

TRANSCRIPT OF ORDER SHORTENING TIME RE: MOTION TO
APPROVE SETTLEMENT FILED BY BRIAN D. SHAPIRO
ON BEHALF OF BRIAN D. SHAPTRO [279];
ORDER SHORTENING TIME RE: MOTION TO REINSTATE STAY
AS TO PROLACTA FILED BY BRIAN D. SHAPIRO
ON BEHALF OF BRIAN D. SHAPIRO [260]
BEFORE TEE HONORABLE AUGUST B. LANDIS
UNITED STATES BANKRUPTCY COURT JUDGE

TELEPHONIC APPEARANCES:

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By: BRIAN D. SHAPIRO, ESQ.
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APPEARANCES CONTINUED.
Audio Operator: C. Shim, Remote ECR

Transcription Company: Access Transcripts, LLC
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Fishers, IN 46048
(855) 873-2223
www.accesstranscripts.com

 

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transcript produced by transcription service.

 

 

 
Case 21-11271-abl

TELEPHONIC APPEARANCES

For Mead Johnson &
Company:

For Prolacta
Bioscience Inc.

For Doug Hughes:

For M-2 Lease Funds,

Secured Creditor:

For Liquid Gold:

Also Present:

ACCESS TRANSCRIPTS, LLC

 

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(Continued):

Shea Larsen

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150

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(919) 755-2148

ELENA M. MEDO

Suite 1100,

-- 1-855-USE-ACCESS (873-2223)

 

 
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(Proceedings commence at 9:38 a.m.)

THE CLERK: Bankruptcy Court is now in session.

THE COURT: Have a seat. All right. We are here for
the two matters on my 9:30 calendar, both of which are in
Medolac Laboratories, a Public Benefit Corporation. This is a
Chapter 7 case, Number 21-11271. Two matters. Item one is a
motion to -- on shortened time to approve a settlement. Item
two relates to a motion seeking to reinstate the automatic
stay. Let's start with appearances. Let's start with the
trustee, just to make it easier for those of you who are trying
to figure out when to talk.

MR. SHAPIRO: Thank you, Your Honor. Brian Shapiro
on behalf of the bankruptcy estate.

THE COURT: Good morning, Mr. Shapiro.

Next, let's talk about the debtor.

MR. ZIRZOW: Good morning. Matt Zirzow for the
debtor.

THE COURT: Good morning, Mr. Zirzow.

All right. Next -- what other appearances do we
have? We've got the trustee, we've got the debtor. Who else
would like to appear in connection with these matters?

MR. SHEA: Good morning, Your Honor. Patrick Shea of
Shea Larsen, appearing on behalf of Mead Johnson and Company.

THE COURT: All right. So --

MR. SHEA: And also with me today, Your Honor, is

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Michael Driscoll from the New York office of Sheppard Mullin.
THE COURT: All right. Good morning.
MR. SHEA: We are representing Mead Johnson jointly.
THE COURT: Good morning Mr. Driscoll and Mr. Shea.
IT heard --
MR. DRISCOLL: Good morning Your Honor.
THE COURT: -- and I should have asked, also, I heard

voices, and I guess I should have asked next, at least one of
the parties who's involved in this and has been for some time,
which is Prolacta.

MS. GUYMON: Thank you, Your Honor. Marjorie Guymon,
appearing on behalf of Prolacta Bioscience Inc.

THE COURT: Good morning Ms. Guymon. I was reading
my notes, and I saw Mead Johnson, and I almost said Marjorie
Johnson. Sorry, Ms. Guymon. Some days I'm better than others.

Other appearances not yet noted?

MR. CRAM: Good morning, Your Honor. Don Cram with
Severson and Wierson, on ~- upon -- appearing on behalf of the
DIP finance lender, Doug Hughes.

THE COURT: All right. All right. So --

MS. MCHENRY: Good morning, Your Honor. Megan
McHenry, appearing for M-2 Lease Funds, a secured creditor.

THE COURT: M-2 Lease Funds? All right.

MS. MCHENRY: Yes.

THE COURT: All right. Good morning, Ms. McHenry.

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1 So who else have I managed to overlook here?
2 MR. LIVERMON: Good morning, Your Honor. Not to be

3] left out, this is Charlie Livermon on behalf of Liquid Gold.

4 THE COURT: Good morning, Mr. Livermon. And Liquid
51 Gold. |

6 All right. And I heard one other voice back there,
7) think?

8 MS. MEDO: Elena Medo, debtor.

9 THE COURT: Good morning, Ms. Medo.

10 Other appearances in connection?
11 Actually, you're not the debtor. Medolac

12] Laboratories, a Public Benefit Corporation, is the debtor, but
13} it's -- you're welcome to listen in on the hearing today,

14) Ms. Medo.

15 Other appearances? Going once? Don't be shy. This
16]}is so much easier in the courtroom, but I'll do it the best I
17}]}/ can on the telephone. Going twice? All right. Appearances
18]/ having been noted -~ oh, there is one more, it sounds like.

19 MR. SHEA: No, Your Honor, this is Jim Shea. I

20] wanted to first of all, apologize for speaking over Ms. Garman
21) -- Ms. Guymon as she was trying to make an appearance as well.
22} The Court's not the only one challenged by these telephonic

23] appearances, and the order in which appearances are to be

24] noted. I didn't know if Mr. Driscoll wanted to make his own

25]/ appearance for the record.

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1 THE COURT: Mr. Driscoll, if you wish to, feel free.
2 MR. DRISCOLL: Thank you, Your Honor. This is Mike
3]} Driscoll of Sheppard Mullin Richter & Hampton on behalf of Mead
41 Johnson and Company, LLC.
5 THE COURT: All right. Very well.
6 MR. DRISCOLL: Thank you, Your Honor.
7 THE COURT: No problem.
8 SO appearances that I've noted, just walking through
9] the record that I've managed to develop so far, I have
10] Mr. Shapiro as the trustee of the Chapter 7 estate of Medolac
ll}} Laboratories. I have Mr. Zirzow appearing on behalf of the
12] debtor, as well as noting Ms. Medo's appearance separately.
13] Then with respect to Prolacta, I have Ms. Guymon's appearance.
14! With respect to Mead Johnson, I have Mr. Driscoll and Mr. Shea.
15] With respect to the Chapter 11, Subchapter 5, Debtor-in-
16} Possession lender, Mr. Hughes, I have Mr. Cram appearing. On
17} behalf of M-2 Lease Fund, I have Ms. McHenry. On behalf of
18f Liquid Gold, Mr. Livermon.
19 I believe that's everyone. If I haven't said your
20} name, and managed to overlook you, and you're on the telephone
Z2l]} this morning, now is your chance to cure my oversights. Going
22]/ once. Don't be shy if you're out there. Going twice.
23 All right. Appearances having been noted on the
24] record, there are two matters pending before me today. We're
25} going to take them in reverse order of the way they appear on
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the calendar. We're going to start with the motion to
reinstate the stay as to Prolacta, filed by the trustee. This
motion is opposed. Mr. Shapiro, this is the trustee’s motion.
Have at it.

MR. SHAPIRO: Thank you, Your Honor. Brian Shapiro
on behalf of the bankruptcy estate. This is the trustee's
motion to ~- what we classify as a motion to reinstate the
stay. But to be clear, that is a title -- as pretty much as
required based upon the drop-and-drag indication with the Court
order in trying to choose what title. But this is a Rule 60 (b)
motion.

THE COURT: Right. That's --

MR. SHAPIRO: The motion --

THE COURT: That was going to be one of my questions
right out of the block. I wanted to make sure I understood.
This is actually a motion that challenges the order that I
entered previously, granting relief from the automatic stay
pursuant to Prolacta's motion, and the predicate for the motion
is Rule 60. Is that right, Mr. Shapiro?

MR. SHAPIRO: Absolutely, Your Honor. That is
correct. It's -- and specifically, Rule 60(b) (4) and Rule
60 (b) (6).

THE COURT: All right.

MR. SHAPIRO: The original motion, the way it was

initially addressed in the original motion, was asserting

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Rule 60(b) (6) first, and then Rule 60(b) (4) second. I'm going
to do this, in essence, in the reverse order, initially going
with 60(b) (4) and then 60(b) (6), just as that is how it is
indicated in the reply.

And the motion initially asserts that the order is
void under Rule 60(b) (4), and the reason that allegation is
being made is that the motion for relief was filed in the
Chapter 11 case, and pursuant to Bankruptcy Rule -- I got it
backwards myself now.

THE COURT: That's okay.

MR. SHAPIRO: Bankruptcy Rule 4001 (a) (1), that
movement is required, and the language is, "shall be served
upon the top 20 creditors of the Chapter 11 bankruptcy estate."

THE COURT: Okay. I do have questions at this point.
Who was the Subchapter 5 trustee during the Chapter 11 phase of
this case?

MR. SHAPIRO: Your Honor, I was. I, in my individual
capacity, was the Subchapter 5 trustee in the Chapter 11 case.

THE COURT: All right. And as Subchapter 5 trustee,
did you receive notice of the stay of relief motion?

MR. SHAPTRO: The Subchapter 5 trustee did receive
notice of the stay motion.

THE COURT: All right. And it went to
Brian@trusteeshapiro.com, nv22@ecfcbis.com,

kristen@trusteeshapiro.com, and connie@brianshapirolaw.com,

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according to ECF 73, Page 2 of 6.

My simple question is this: Why didn't you object to
service of the stay relief motion after you were served with it
in your capacity as the Subchapter 5 trustee in the Subchapter
5, Chapter 11 phase of this case?

MR. SHAPTRO: Your Honor, at the time of the service
of the motion, I, as the Subchapter 5 trustee, was not aware
that the motion for relief from stay was not properly served.

THE COURT: But you got --

MR. SHAPIRO: In fact --

THE COURT: You got the motion, and you received
service of it. Help me understand how that's the case?

MR. SHAPTRO: Your Honor, it was served upon the
Subchapter 5 trustee.

THE COURT: Right.

MR. SHAPIRO: As a Subchapter 5 trustee, the duties
and obligations of the trustee are significantly different than
that of a Chapter 7 trustee or a normal Chapter 11 trustee.

THE COURT: I agree with that.

MR. SHAPIRO: In fact --

THE COURT: Doesn't the Subchapter 5 trustee have the
obligation of trying to assist the debtor through the sort of
expedited process of Chapter 11 under Subchapter 5, and
wouldn't stay relief be something that would have an impact on

being able to put together a plan that could be confirmed under

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the shortened time frames that are established under
Subchapter 5?

MR. SHAPIRO: Your Honor, one of the main goals of a
Subchapter 5 trustee is attempting to reach a consensual plan.

THE COURT: Right.

MR. SHAPIRO: And I acknowledge that a motion for
relief may certainly affect that. However, the simple issue of
notice of whether something was noticed properly sometimes
could be quite frankly overlooked. And the reason things could
be overlooked is when you see a certificate of service that was
on file, and knowing that, you know, in this particular
instance, counsel who has been doing this for a large amount of
~~ a long time, one can imply that perhaps service was proper.

The issue that was before your -- the Court on the
original motion for relief was an issue that was being
specifically addressed by Mr. Zirzow on behalf of the debtor.
Behind the scenes, I, as the Subchapter 5 trustee, was clearly
attempting to reach resolutions in assisting the debtor, but on
the motion for relief from stay, the trustee arguably had some
type of standing to file an opposition based upon the merits of
the motion. What that standing would be due to the newness of
the role of a Subchapter 5 trustee may be disputed in some
respects.

It's not one of the underlying expressed duties of a

Subchapter 5 trustee, but quite frankly, it was not, in

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essence, brought to my attention that service of the motion was
improper, and it appears that, you know, service of the motion
was not perhaps brought to this Court's attention, I'm
assuming, based upon the motion that was filed by movant.
Movant in essence implied, by filing a certificate of service
that it served properly, the 20 largest unsecured creditors as
required to under the Bankruptcy Code, and I'm not asserting --
and please, take this in light of my comment, but we all have
obligations to make sure that notice is somewhat proper and
when you receive --

THE COURT: Well, that include -- and I want to be
very clear on the record here. That includes the Court, and
the debtor, certainly, in the Subchapter 5 case appeared
opposed and didn't raise the question of service as it related
to the stay relief motion. Right?

MR. SHAPIRO: Correct. So any of the parties that
actually received notice of the motion did not raise that
particular issue.

THE COURT: All right.

MR. SHAPIRO: And thank you for addressing that, as I
was trying to lightly tap at, you know, the Court has that
obligation as well, and to make sure that notice was proper.
Clearly, at least I believe that if Your Honor was advised and
made the determination that notice, in fact, was not given, it

would be my belief that this Court would not even consider the

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underlying motion to terminate the stay.

I did cite to you -- it was an unpublished decision
of the Ninth Circuit BAP panel in my reply that talked about
the importance of giving notice to the creditors, and that it
is a contested proceeding, and under that particular decision,
it even indicated that a contested proceeding notice should
have been given to the attention of the president, the resident
agent, as well. So which, quite frankly, I was surprised to
read. But nonetheless, notice was not, in fact, given.

I, when I was the Chapter 5 trustee, did not see
that. Clearly, the debtor did not raise that issue, and
presumably did not see it. Liquid Gold presumably did not see
it. This Court did not see it. And the movant never
represented to the Court that it actually served or did not
serve the motion on the 20 largest creditors appropriately.

But the fact of the matter is, is that those
creditors who were required to be noticed with the notice of
motion were, in fact - did not receive service of the motion,
nor the notice of hearing. Again, if this Court was aware of
that, i firmly believe that this Court would not even, at that
time, consider the underlying motion without proper service.

Now, belatedly, Prolacta did serve the motion. I
don't think it was the notice of hearing, but the motion and
the court order, approximately one week ago to all of these

creditors. However, those creditors, at the time of the

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motion, would never receive an opportunity to actually appear
nor contest the underlying motion. Respectively, based upon
the failure to notice, and based upon the language that’s
contained in the rules, the underlying order, at least the
estate's position, is void. Prolacta makes two different
allegations or two different arguments as one, that it doesn't
reach a level of a violation of due process because the Chapter
11 plan was filed and served upon all of the creditors of the
bankruptcy estate, as well as what you initially raised a
moment ago, that the Subchapter 5 trustee did receive notice
and had some type of obligation to bring it to the Court's
attention as a fiduciary to the creditors of the bankruptcy
estate under Section 11 U.S.C. 323.

Just briefly addressing those two issues, or those
two arguments, the plan was actually filed prior to the motion
for relief being filed. I should note that they were citing to
the Supreme Court case of Espinoza in support of that argument.
So just to draw the differences between those two cases, the
Chapter 11 plan was served prior to the motion for relief from
the automatic stay, and that plan provided that -- and it gave
a brief discussion of the Prolacta litigation, admittedly.

That plan also had an injunction clause, and that plan, at the
end of the day, was never confirmed, although admittedly, it
was noticed upon all creditors.

Comparing that to the Espinoza case, which was the

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student loan case in a Chapter 13 context, the Chapter 13
debtor was attempting to discharge a portion of the student
Loans, and in lieu of filing an adversary case, contained that
language within a Chapter 13 plan. The creditor, the United
States Aid Funds, did not object to the Chapter 13 plan, and
the underlying court approved the Chapter 13 plan. But
approximately four or five years later, the student loan
company asserted that, in essence, the debt was not discharged,
because no adversary complaint was filed and no summons was
filed. The Supreme Court clearly held that the underlying
order, even though perhaps in some respects should not have
been granted, that order being the confirmation of the plan,
they could not collaterally attack the underlying Chapter 13
plan.

The court -- Supreme Court in essence warned
bankruptcy courts that they should not be confirming a
Chapter 13 plan that has that particular language, and that, in
fact, an adversary proceeding is required to be filed.
However, in this particular instance, since the creditor
actually had notice of the Chapter 13 plan, and that the plan
was confirmed, the United States Aid Funds could not
collaterally attack the underlying Chapter 13 confirmation
order.

Clearly, this case is significantly different, as the

plan was not confirmed, had no language pertaining to the

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motions for relief from stay and, in fact, if the creditor
actually was looking at all this, they would know at the time
of the filing of the bankruptcy case there was a stay in
effect, and that the plan provided that there was going to be a
permanent injunction, which would have prohibited Prolacta from
even moving forward with the underlying litigation.

The second argument that we have made is simply that
there's been a significant change of circumstances since the
motion for relief which has been filed, and that would --
relief again be requested under Rule -- Federal Rule 60(b) (6).
And the issues and the facts which I have raised in the
underlying motion were not brought to the Court's attention
when the original motion for relief was filed, because in fact,
those facts, in essence, were not in existence at that
particular time.

I went through in the reply specifically all the
different facts which occurred after the filing of motion for
relief from stay, which was not presented to this Court at the
time, and those -- just briefly, some of those facts -- I think
some pertinent facts specifically was that Prolacta ended up
filing a $18 million claim in the bankruptcy case, and that
Prolacta filed a motion to dismiss the case. Prolacta filed a
motion to abstain. The debtor at that time was operating, when
the motion for relief was filed, but subsequently clearly now

the debtor is no longer operating, and is not authorized to

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operate. This Court did grant the motion to dismiss and
subsequently converted the case.

At the time that you heard the motion, there was a
concern as to whether, in fact, that there was insurance
coverage or not, and there's now evidence that there is no
insurance coverage available to defend the litigation, nor pay
any judgment. Clearly, at this moment in time, the bankruptcy
estate is administratively insolvent. There was now a motion
to approve a settlement which has been filed under Bankruptcy
rule 9019. Prolacta has now amended their proof of claim,
which was signed under penalty of perjury, and has amended
their claim to zero dollars, in essence, not asserting a clain,
a monetary claim against the bankruptcy estate. In fact,
Prolacta has now filed a motion to withdraw their proof of
claim, which is pending, and I believe sometime -- to be heard
sometime in August.

Moreover, the effect of the lifting of the stay is
going to negatively affect the bankruptcy estate. The Chapter
7 bankruptcy estate now, to the extent that the estate has
funds, the estate is going to be forced to, in essence, defend
the underlying litigation, or potentially defend, and the
action that has been taken by Prolacta in the state court
litigation is clearly affecting the bankruptcy estate. For
instance, and I think one of the most significant things that

has been filed in the state court matter was what I have

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classified as a restraining motion.

Prolacta filed a motion in state court seeking
immediate ex parte relief to prevent the bankruptcy estate from
selling, purchasing, conveying, and transferring property of
the estate. When the estate got noticed of this motion, the
estate immediately contacted counsel, advising that it was the
estate's position that such motion is a violation of the stay,

and that the attorneys and Prolacta could be held in

contempt --

THE COURT: What stay?

MR. SHAPIRO: -- based upon --

THE COURT: What stay, Mr. Shapiro?

MR. SHAPIRO: The Chapter 7 stay under 362 as to
assets of the bankruptcy estate.

THE COURT: All right.

MR. SHAPIRO: They're attempting to prevent the
estate, again, from selling, purchasing, and conveying property
of the bankruptcy estate. To the extent that this Court's
lifting of the stay is not void as a matter of law, Your Honor
had a variety of restrictions and limitations in the findings
of fact and conclusions of law which would have prevented
Prolacta from filing that particular motion.

Despite the estate advising counsel that the estate
would be taking the position that that was a violation, and

potentially they could be held in contempt, they argued in

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support ~-- aggressively in support of that underlying motion.
The transcript pertaining to that motion has been attached, I
believe, by Prolacta. In a brief review, you can read, and I
believe I quoted in the response, that Prolacta was taking the
position that the order lifting the stay was all encompassing
wherefore all -- and they could do whatever they want against
the bankruptcy estate.

Respectively, I disagree with that position. I don't
believe they have the ability to prevent the estate from
selling, transferring, and conveying property of the estate.
The estate believes that's a violation of the automatic stay,
of the stay, and arguably, they could be held in contempt if a
motion was filed requesting that. And of course, that motion
is currently pending before the Court.

Thankfully and luckily, the state court did make the
decision that -- and reflected its concern that such motion was
a violation of the stay and the court was not going to even
address that particular motion. In that motion, I should note
they were weil aware of what was going on in state court,
because they were citing to the underlying 9019 motion, which
was -- would end up resulting in the debtor's DIP lender
foreclosing upon, and then subsequently obtaining all the
property of the bankruptcy estate, and that it was an attempt,
from the estate's position, to attack that particular motion in

another jurisdiction and arguably -- and actually, not

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arguably, I'd say, actually asserting that they were attempting
to usurp this Court's jurisdiction by trying to get a state

court to enjoin this Court from actually hearing that motion at

the underlying -- in essence, today.
Again, the state court chose not to address the
restraining motion, and continued that matter to Monday. I'll

advise the Court that the bankruptcy estate did not make a --
an appearance on that motion, because the estate is not
represented by counsel in the state court matter, because the
estate has no money to retain counsel to actually appear in
state court to defend that particular litigation at this
particular time.

THE COURT: So what would be the net effect of the --

MR. SHAPTRO: So for the --

THE COURT: What would be the net effect if the

estate simply doesn't participate at all in the state court

litigation?
MR. SHAPIRO: If the estate does not participate in
the underlying litigation, as it would appear to be indicated

that the debtor -- or excuse me, that the court will award some
type of monetary award against the bankruptcy estate, some type
of damages, I don't know what other relief that they are
potentially requesting, the order for relief clearly said that
they could not execute upon any type of assets of the

bankruptcy estate, but the effect really is, is that the estate

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may have to consider potentially defending the litigation if
they're attempting to enjoin the estate, or prevent the estate
from liquidating assets and moving forward appropriately within
the bankruptcy proceeding. f= mean, in a --

THE COURT: What assets are you talking --

MR. SHAPIRO: Your Honor --

THE COURT: What assets are you talking about when
you say that? What assets of the estate?

MR. SHAPTRO: I'm sorry, I didn't --

THE COURT: What assets of the estate are you talking
about when you are referencing the efforts to sell the property
of the estate?

MR. SHAPIRO: Well, to the extent that the -- well,
the -- any and all assets of the estate, to the extent that the
estate ends up selling any and all assets of the estate.
Arguably, if this Court does not grant the 9019 motion, which
results in the foreclosure of those assets, and I think that
motion is attempting to prevent the foreclosure, or if someone
decides at the time of the hearing a little bit later this
morning to try to top the bid, you know, that would be a
prevention from the estate from transferring assets of the
estate.

It's hard for me to make a determination at this
moment in time what additional assets that may exist that are

out there. The underlying -- this is getting into the 9019

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motion, and I apologize for that.

THE COURT: No, that -- you've got to --

MR. SHAPTRO: But as such, the --

THE COURT: -- touch on it, because I asked the
question, Mr. Shapiro. It's just fine. Go ahead.

MR. SHAPIRO: Thank you. I mean, the assets -- and
this is again, the 9019 motion. The assets that pursuant to
that motion, the estate will -- would retain are account
receivables, underlying causes of action, cash, avoidance
actions, and whether that's going to prevent the estate, as
they obtain an injunction from the state court from resolving
those causes of action, the way at least it was simply
described at this moment in time, you know, is unknown. I
can't see what's going to occur in the future in the state
court litigation. But again --

THE COURT: Do you count --

MR. SHAPIRO: -- the request to --

THE COURT: Do you contemplate --

MR. SHAPIRO: -- enjoin the estate ~--

THE COURT: Do you contemplate --

MR. SHAPIRO: -- from selling or transferring assets,

any assets, is simply improper.
THE COURT: Understood. Do you contemplate conveying
any intellectual property or similar assets that are owned by

Prolacta and not the estate?

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MR. SHAPTRO: The bankruptcy estate, to the extent
that it owns any -- let me rephrase that.

To the extent that it has possession of any and all
~- any assets that belong to Prolacta, and assuming that that
is not in dispute, so let's make the assumption that the estate
is holding on to an asset that belongs to Prolacta, the answer
is no. The estate is not going to sell, transfer, or convey
any asset that is owned by Prolacta.

However, with that said, again, going into the 9019,
is that I do expect, at the time of that hearing, that there is
going to be a topping offer or a request to have an in-court
auction of any and all assets of the estate without warranty as
to ownership or transferability, in an as~is/where-is
condition, so to the extent that that is deemed that I'm
selling an asset that belongs to someone else, I am selling it,
again, in an as-is/where-is condition without representation as
to ownership, warranty, et cetera.

So do I intend to sell assets that don't belong to
the bankruptcy estate? The answer is no. To the extent that
someone based upon a potential sale takes the position that
that particular asset belongs to the estate in lieu of
Prolacta, that is certainly I guess a possibility, but if their
sale does occur, it would be without any type of warranty
whatsoever. So it would be -- I think we've heard this -- at

least I heard this in law school, at one time, is that, you

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know, I may not own the London Bridge, but I can sell the
estate's interest in the bridge, to the extent that any exists,
without warranty as well.

THE COURT: Right. Well, we've strayed from the --

MR. SHAPIRO: So I hope that's an end-around answer
to this Court's question.

THE COURT: No, actually, it was a fairly direct
answer, but let's circle back to the stay of relief motion.

I'm sure I'll hear more about the sale process here shortly.

What else do I need to know as it relates to the
motion to -- as it's characterized, reinstate the stay? It's
really a 60(b) motion under Bankruptcy Rule 9024. Anything
further to add in support of that motion from the standpoint of
the estate?

MR. SHAPIRO: No, Your Honor. I will just wait for
my opportunity to respond.

THE COURT: All right.

MR. SHAPIRO: Thank you, Your Honor.

THE COURT: Very well. Opposition to this motion,
certainly filed by Prolacta. Ms. Guymon?

MS. GUYMON: Thank you, Your Honor. Mr. Shapiro
accurately represented what his argument was, but
misrepresented a lot of what Prolacta's underlying actions
Since the stay was lifted encompass. I'd like to follow the

same order as the trustee, just to keep the record clear.

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THE COURT: All right.
MS. GUYMON: But I do want to remind Your Honor, I
don't think it's -- it probably hasn't escaped your memory yet,

the facts in this case, but for the record, I think it is
important just to summarize why Prolacta has been so involved
in this case from its inception.

So as you may recall, on February 24th of 2020, after
Six years of protracted litigation, discovery on both sides,
depositions, an immense amount of litigation involved in this
case, trial began before a jury in Orange County, and Prolacta
put on several witnesses in its case in chief, including
Dr. Denitz, who was the former chief medical officer for
Medolac, and you have Dr. Denitz's full testimony transcript of
both the trial testimony and the deposition. It was hand
delivered to Your Honor and filed with the Court.

And Dr. Denitz testified that the debtor utilized
stolen trade secrets from Prolacta in order to formulate the
debtor's product. You -- the Court knows that trial was
stopped after several weeks because of the pandemic, anda
mistrial was ordered, and the jury discharged. Had the
pandemic not happened, we wouldn't be here, continuing to try
to preserve and protect assets that are still in Prolacta's
possession, but unfortunately, were the base upon which the
debtor has established an entity that is competing with

Prolacta, based on its own formulas and processes.

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Your Honor is well aware of the proceedings in the
bankruptcy estate. As you touched on, Mr. Shapiro was
appointed the Subchapter 5 trustee. He was involved in all of
the hearings. In fact, Prolacta actually brought a motion
before the Court, asking the Court to require the Subchapter 5
trustee to get more involved, and investigate in some of these
assets that were absent on the debtor's schedules, and yet the
debtor litigated so vehemently for six years, and complained in
the bankruptcy case that it spent millions of dollars, to the
detriment of its ability to be a viable entity that could ever
turn a profit for its entire existence, because Prolacta was
litigating these issues. But there is absolutely no reference
to any type of intellectual property on the debtor's schedules.
There was absolutely no disclosure or discussion.

All along, what Prolacta has wanted to do is to
prevent the debtor or its assigns from using stolen
intellectual property in furthering this economic advantage.
Your Honor approved the DIP financing motion in April of this
year. Prolacta filed a limited opposition, again, putting
everybody on notice that it did not believe that the debtor had
the ability to pledge assets that did not belong to the
bankruptcy estate, and these assets are the intellectual
property and residue of the use of that intellectual property
to its economic advantage.

That issue has never been addressed. Your Honor

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lifted the stay, and we cite to the record wherein Your Honor
specifically made certain findings that the bankruptcy estate
~- there was a question as to whether or not the bankruptcy
estate owns these assets, and it needed to be determined, and
the proper forum was the Orange County court, where the case
had actually proceeded through three weeks of jury trial, and
that was the proper place to have these issues resolved, in
that complex court in Orange County. The Chapter -- Subchapter
5 trustee participated in that hearing, but never filed any
objection, made no representations whatsoever in that hearing.

Your Honor, when the stay order was lifted, it was
with the understanding that Prolacta could proceed forward with
its litigation, and that included going back to where the state
court left off, and picking up the process. One of the things
that was pending at that time in state court was the fact that
the -- that Medolac, the defendant in that case, had made
certain representations regarding electronic storage data and
so forth consisting of laptops, computers, and so on, and that
-- and those representations were that they didn't have it.
That the computers were broken or damaged or stolen, or, you
know, all types of excuses as to why those -- that information
could not be turned over in discovery.

Ms. McCarthy submitted a declaration in support of
our opposition, which is very thorough, and attaches every

single full transcript for this Court's review. This Court may

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recall that you granted the debtor's request to take judicial
notice of the state court proceedings as well. And in
Ms. McCarthy's declaration, it is crystal clear that the debtor
perjured herself, specifically Ms. Medo, in the state court
action. Because lo and behold, when the trustee finally
provides an inventory as to what the assets actually are in the
estate, the assets consist of 26 computers. And it even puts
in there the date that the computers were purchased. And the
date the computers were purchased far predates the date that
Prolacta filed the complaint against Medolac, and the date that
Ms. Medo was deposed, and stated that she didn't have these
computers.

These computers are absolutely vital to Medolac's
being able to prove -- or Prolacta being able to prove its
claims that Prolacta stole -- that Medolac stole Prolacta's
intellectual property. Nowhere in any of the ex parte
applications filed with the California court recently does it
say that we want to prevent the bankruptcy trustee from selling
assets. What we are attempting to do is preserve evidence, and
had the trustee been willing -- although I understand there's
no money in the estate, and so the trustee doesn't want to
expend a whole lot of time on any of these issues.

But the reality is that this is a multi-million
dollar issue for Prolacta, and Prolacta has the absolute right

under law, state and federal, and the trustee has the absolute

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fiduciary obligation as a representative of Medolac, to protect
and preserve evidence in that state court proceeding. And what
the trustee has said is, no, I'm going to allow Hughes to
foreclose on those laptops, and he can do whatever he wants
with them, and it's not my problem, and I don't have to
download or allow you to inspect and have your experts download
and preserve the evidence on the laptops, on the printers, on
the desktop computers. And that's just absolutely wrong, Your
Honor.

The state court was hesitant to make a ruling without
clarification from the Court. The state court did not say, oh
yeah, the automatic stay applies, and I can't move forward.

The state court gave deference to Your Honor, and said, I don't
want to step on the federal court's toes; I understand you have
a hearing coming up on Friday; T'1ll kick this matter until
Monday; you come back and tell me what the federal judge says I
can do. However, the state court did specifically state that
it would be surprised and concerned -- I don't recall the
actual words that the state court used, but would be quite
disturbed if this Court found in contradiction of the law that
the trustee did not have a duty to protect and preserve
evidence.

Now, the trustee argued that notice was improper, and
that because of the word shall, there's no way around it.

Prolacta loses and the stay is -- the order lifting the stay is

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void. That's just not what the case law says, and the trustee
hasn't cited to any supporting case law that would support his
argument.

in fact, the trustee hasn't shown that the
nonconformity with the procedural rule rose to the level of a
Fifth Amendment due process violation, and fails to recognize
that Prolacta's method of service did not rise to the level of
such a violation of the creditor's constitutional rights to due
process because the trustee is the fiduciary for all of the
debtor's creditors under 323(a), and the trustee did get actual
notice. The trustee failed to object, and further, Your Honor,
after the notice of the motion and the order to all of the
creditors, which is a $700 endeavor just for copying and --
Just for postage alone, nobody has stepped forward, and in
Spite of the trustee filing his motion to reimpose the stay,
which hearing was set forth August 24th, and then shortened at
the trustee's request, no other creditors have joined in the
motion, or have filed any type of response to the motion.

Any of the creditors who cared about the lift stay
were present and participated at the hearing in which the Court
lifted the stay to allow Prolacta to proceed with state court
-~ the --

THE COURT: Isntt it --

MS. GUYMON: -- state court matter.

THE COURT: Isn't it really more fair to say, any

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creditors who actually received notice of the motion for relief
from the automatic stay appeared?

MS. GUYMON: That's true, Your Honor.

THE COURT: And so --

MS. GUYMON: I will say that none of the other
creditors have participated in any way, shape or form in this
case.

THE COURT: I don't disagree with you. But for the
record, so it's clear, who did Prolacta serve when the stay of
relief motion was filed?

MS. GUYMON: Prolacta served the debtor, the
U.S. Trustee's office, the trustee, and those requesting
special notice. So Mr. Cram, Mister --

THE COURT: Livermon?

MS. GUYMON: -- yes. So ali those who requested
special notice all got notice of the motion.

THE COURT: But the 20 largest didn't. Isn't that
accurate? =F mean, what part --

MS. GUYMON: That is --

THE COURT: -- of the trustee's recitation of who was
served is inaccurate?

MS. GUYMON: That's not in -- I didn't say that that
was inaccurate.

THE COURT: No, no, I'm asking. I'm not accusing,

Ms. Guymon, I'm asking you --

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MS. GUYMON: No, no, no. His representation is
accurate, Your Honor.

THE COURT: All right.

MS. GUYMON: And my argument is that due process does
not require actual notice. That's what Espinoza stands for,
that's what Hanover Bank stands for. The trustee is --

THE COURT: But doesn't the rule --

MS. GUYMON: -- the fiduciary --

THE COURT: Don't the rules specifically provide, and
specifically, Rule 400i (a) (1), who's to be served with a motion
for relief from the stay, though? I mean, am I just to ignore
the Bankruptcy Rule in favor of general concepts of notice, and
an opportunity to be heard?

MS. GUYMON: No, Your Honor. You're not. But we
have to also look at whether due process was violated, whether
alternative service was reasonable, and whether there was any
harm involved in that, and our opposition and our argument is
that that can't be found. Due process does not require actual
notice. Notice was given through the trustee, who was the 20
largest unsecured creditors' fiduciary, and in any event, none
of those creditors, if they did care, at some point, they would
have stepped forward.

None of them cared. Nobody has since come forward,
Since the trustee has brought that issue to the Court's

attention. The only people that this affects are Prolacta and

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the bankruptcy estate, and quite honestly, the issue has to be
resolved. If the Court reimposes the stay, then the issue is,
will it lift the stay again, or does it want to hear three
weeks of a bench trial on who owns these assets? Because as
Your Honor has previously ruled, this issue must be determined.

THE COURT: Can't I simply -- if I were to grant this
motion, what would stop Prolacta from simply properly noticing
the motion, bringing it forward for me to consider, so that I
couid resolve the issue without the question of whether or not

the order that I entered has jurisdictional flaws in it?

MS. GUYMON: None whatsoever, Your Honor. We would
bring -- we would renew the motion and ask for an order
shortening time, and we would just do it all again.

THE COURT: So as long as I -- if I were to grant
this motion, and I'll tell you, I haven't decided that question
just yet. If I were to grant it, but without prejudice to
Prolacta's ability to bring a similar motion again, any real
harm to Prolacta, other than curing what could potentially at
least be down the road, an appellate issue?

MS. GUYMON: Other than the delay, Your Honor, no.
And I will say the concern that we have, which may be addressed
in the next motion, is that we do want some directions if
possible from Your Honor to give to the California state court
Judge —--

THE COURT: Oh, sure, I understand that.

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MS. GUYMON: -—- as -- yeah, you understand that
issue. Yes. So there could be harm if we're just left to our
own -- if we're left to our own devices, and the settlement
agreement with Hughes is approved, we have an uphill battle in

trying to protect and preserve those assets.
THE COURT: All right. What else by way of

opposition from Prolacta's standpoint?

MS. GUYMON: Well, Your Honor, the trustee also
addressed 60(b) (6), and -- so we'll address that briefly.

Again, the -- there are no significant changed
extraordinary circumstances. Everything that the trustee cited
to 1s not extraordinary. In ~~ with respect to what's going on
in the state court case. Everybody knows that the issue of who

owns the assets needs to be resolved. Whether it's resolved in
state court, or before Your Honor, it has to be resolved. If
the estate has no money to defend, it's just a reality of Your
Honor converting rather than dismissing this case.

It isn't an extraordinary circumstance. It happens
all the time. The debtor is closed to business, and has
pledged all of its assets to secure the DIP loan. Certainly,
if Your Honor approves the settlement agreement with the DIP
lender and the trustee, the trustee will have at least $183,000
with which to defend the litigation. Of course, the trustee's
also going to, you know, buy litigation with regard to that

settlement agreement, which again, we will discuss in that

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motion.

So the conversion from an 11 to a 7 is not
extraordinary, and ordinarily, would not result in the
reimposition of the stay as it relates to Prolacta being able
to proceed with its litigation, with its discovery, which would
include the maintenance of discovery in the hands of the
debtor. The -- it's important, I think, for the Court to note
my -~- and we raised this in our opposition, that it ~- yes, the
case right now is administratively insolvent, and in fact, even
if the settlement with the DIP lender is approved, it's still
going to be administratively insolvent because of the $900,000
TRS claim, arising because the debtor failed to pay taxes and
--~ while paying its owners and directors and officers
exorbitant salaries.

So, you know, I'm just not really sure where the
extraordinary circumstances are here with regard to conversion
or administration of the estate. The fact that Prolacta
amended its proof of claim to zero was in fact a response to
this motion to reimpose the stay. The trustee was attempting
to make the argument that, oh, Prolacta filed the proof of
claim after the stay was lifted, and that results in a
Significant changed circumstance.

Well, Your Honor, the debtor can't have it both ways.
We don't file a proof of claim so that we can preserve our

right to go into state court and have our jury trial, but if we

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don't file proof of claim, then we can't object to the plan
which imposes an injunction, and prevents from having our jury
trial. It's just simply put Prolacta in such a difficult legal
quandary. There really was no way that I could not file a
proof of claim on behalf of Prolacta, and risk the debtor
arguing that we had no standing to file the motion to dismiss,
which did result in the Court converting the case, or object to
the plan, which the Court did find was not a feasible plan.

So in the -- understanding that this estate is
administratively insolvent, Prolacta was willing to withdraw
its proof of claim, and focus on what it has always intended to
protect and preserve, which is its assets and to have that
tried and litigated before the Court that it started and was
almost finished with. So it's disingenuous to argue that
because Prolacta filed a proof of claim, now the estate should
be reimposed. And in any event, we filed a motion to withdraw
the proof of claim, and we actually asked that the time be
shortened, to be set to today's -- the same date as the hearing
on the trustee's motion to reimpose the stay, and then the
trustee requested that this hearing be set on shortened time.

So Prolacta's request to withdraw its proof of claim
is set for August 24th, the original date of the trustee's
motion herein.

THE COURT: All right. Anything further --

MS. GUYMON: The --

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THE COURT: Oh, I'm sorry, Ms. Guymon. Go right
ahead. I was --

MS. GUYMON: No, no --

THE COURT: -- going to ask if there was anything
more, and there is. Go right ahead. I'm listening.
MS. GUYMON: The -- I just want to briefly address

the argument of the furtherance of justice that the trustee
raised. The trustee cites to numerous cases, but they're just
not applicable. The substance is not supported in this case.
And in my -- in our opposition, we go through and cite the
reasons why we believe that those cases are not supportive,
based on their facts.

And the bottom line, Your Honor, is that what the
trustee is trying to do is have a do-over, or take the
opportunity to argue additional defenses that the trustee, the
debtor, the creditors that did participate did not previously
bring forth. And the reality is that the trustee steps into
the debtor's shoes, and is subject to the orders that this
Court previously entered against the debtor. That's the whole
concept of preservation of court orders. And for those
reasons, Your Honor, we're asking that the Court deny the
motion to reinstate the motion under Rule 60(b) (4) and (6) and
specifically enter an order providing instructions to the
Orange County Superior Court with regard to the preservation of

evidence as delineated in the ex parte motion, which Your Honor

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has a copy of as well. Thank you.

THE COURT: All right. Before I circle back to
Mr. Shapiro, I want to make sure that there is nothing else
that I've managed to overlook. We're here on shortened time.
T'll just walk through the lawyers who have appeared.

Mr. Zirzow, no opposition in writing to this matter, but we're
here on shortened time. Anything to add on behalf of the
debtor?

MR. ZIRZOW: Your Honor, we obviously support the
trustee's position. How Prolacta has taken advantage of your
order in the state court action to try and interfere with the
trustee I think is offensive to this Court's jurisdiction, and
I think it also speaks, Your Honor, with all due respect, to
how stay of relief should have never been granted in the first
place, because Prolacta has used that grant to drive a truck
through it and especially interfere with what the trustee is
now trying to do.

So we do support the trustee's position, obviously,
and I say that, Your Honor, as the debtor, and also as one of
the largest administrative claimants in the case, now,
unfortunately, for me and my law firm. Ms. Guymon is incorrect
about the administrative insolvency. It is certainly true that
any proceeds from the settlement will be used to pay
administrative claims and the prepetition claim of the priority

tax claimant. The estate 1s administratively insolvent right

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now, but with this settlement, it will not be administratively
insolvent any more, so it's just a misstatement of the facts.

Unfortunately, however, Prolacta's gamesmanship with
whether it has a claim, first it didn't assert a claim, then it
had an $18 million claim when it needed it, then it tried to
withdraw that claim, and I guess now it's a zero claim,
whatever that means. I guess it depends on which day of the
week you ask Prolacta whether it has a claim in this case.

That kind of gamesmanship I think really speaks volumes to the
validity of their position here.

But ultimately, Your Honor, as far as stay relief,
the trustee needs protection in order to do his job, so we
obviously support what the trustee is trying to do here, and
frankly, he needs the protection to be able to carry out
transactions. And finally, if Ms. Guymon's so concerned about
discovery, then why doesn't she do something in this bankruptcy
court to avail herself of all the remedies she has to do that,
instead of frankly, trying to subvert this whole bankruptcy
court's jurisdiction by getting things, you know, TROs and
protective orders in California? If she's so concerned, then
why not do it in the right court, here?

So for those reasons, Your Honor, we obviously
support the trustee's motion, and ultimately, I appreciate my
position is very limited here, but I think the trustee's

position makes a great deal of sense. Thank you.

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THE COURT: All right. From the standpoint of Liquid
Gold. Mr. Livermon?

MR. LIVERMON: Thank you, Your Honor. Liquid Gold's
position I guess has changed in the last 24 hours, given the
emergence of Mead Johnson into the process, Your Honor. We
were unaware of that until last night, until the filings that
it came in ECF that on the East Coast, came at a pretty late
hour, and we were not made aware of that prior to that,
although Mr. Shapiro did attempt to cail me the day before, but
we never made connections on that call.

But given the fact that if Mead Johnson is a viable
candidate for acquiring these assets, then it would make sense
for the automatic stay to be in place to maintain the status
quo while that due diligence is being done. If the Court is
not inclined to allow that process to go forward, then we would
be in support of the stay being to remain lifted so that
Prolacta can proceed ahead in state court.

So sorry to be if this, then that, position, but
again, it changed last night when another player came into the
Court and said that they were willing to purchase the assets.
Thank you.

THE COURT: Fair enough. Mr. Cram?

MR. CRAM: Thank you, Your Honor. Just a couple of
points, briefly. I just -- I wanted to reiterate the trustee's

position, and the unpublished BAP case cited in the trustee's

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reply. In that particular case, the Bank of America case
versus LSSR, in that particular case, the Bank of America
actually served its stay of relief motion on all unsecured
creditors, but it failed to state -- set forth in its
certificate of service that it had served the 20 largest
creditors as required by Rule 4001.

And in that instance, just with that small defect,
which here, the 20 largest weren't served at all, but in the
context that's even serviced upon all creditors, the Bankruptcy
Appellate Panel said that it didn't -- the bankruptcy court
didn't have the jurisdiction to hear the stay relief motion,

and required Bank of America to go back and refile its motion.

And so --
THE COURT: Same question for you, then --
MR. CRAM: -~ even --
THE COURT: Same question for you, then, Mr. Cram.
As I asked the trustee, didn't you receive a copy of the motion

for relief from the automatic stay and the related notice of
hearing electronically?

MR. CRAM: I did, Your Honor, because I had requested
special notice.

THE COURT: So you got service at DHC@severson.com,
FMR@severson.com, DMG@severson.com, in connection with the
motion at the time it was filed. Why didn't you bring it to

the Court's attention that the service was improper at that

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point?

MR. CRAM: Your Honor, I didn't notice -- I didn't
review closely the certificate of service. I was looking at
the substance of the motion more than the certificate of
service.

THE COURT: All right. What else from the standpoint
of Mr. Hughes?

MR. CRAM: And just in light of the changed
circumstances, now that this is a Chapter 7 case, as the
trustee pointed out, really, because of the fact that it's a
Chapter 7, the debtor is not operating. The debtor is closed.
So there's really no reason for the state court litigation to
proceed. Especially in light of the fact if there's going to
be -- and this is kind of, I guess, trickling over into the
next -- the hearing on the next motion, but if this is going to
morph into a full 363 sale process, I think the trustee needs
the benefit of the automatic stay. The estate needs the
benefit of the automatic stay. There's a significant dispute
over some of the assets of the debtor and the ownership of
those assets.

THE COURT: Well, the assets in the possession of the
debtor, anyway.

MR. CRAM: Correct. And that's exactly right, Your
Honor. And that dispute has not been resolved. However,

Prolacta has filed a claim. They've amended that claim. So

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ostensibly, their -- all of their claims can be monetized and
can be resolved through a distribution process which will
hopefully -- I mean, and hopefully, the 363 sale process will,
you know, have a happy ending and result in a distribution to
unsecured creditors.

So for all these reasons -- I mean, there is
Significant change in circumstances, by virtue of the
conversion of the case, the --

THE COURT: Is that exceptional, do you believe,
Counsel? Is it exceptional for a Chapter 11 --

MR. CRAM: T do --

THE COURT: -- case to get converted?

MR. CRAM: That is not exceptional. But the
difference is exceptional. In the Chapter 11 case, although
the Court granted stay relief, there was a pending hearing on a

motion to confirm a plan that also contained an injunction.

And if the Court -~ had the Court confirmed that Chapter 11
plan, it -- in effect, it would have undone that stay relief
order.

So by virtue of the conversion of the case, that
potential is no longer available to the trustee. So that's
Significant. That, coupled with the fact that the Court
ultimately didn't have the jurisdiction to enter the order it
entered, I think bolsters the reasons why the Court should

grant this motion.

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THE COURT: Terrific. Anything further?

MR. CRAM: No, Your Honor. Thank you.

THE COURT: All right. Anything on behalf of M-2
lease Fund, Ms. McHenry?

MS. MCHENRY: This 1s Megan McHenry. M-2 Lease Funds
does not oppose this motion.

THE COURT: All right. And then for Mead Johnson,
either Mr. Shea or Mr. Driscoll, whoever feels like addressing
this before the floor goes back to Mr. Shapiro for rebuttal?

MR. DRISCOLL: Thank you, Your Honor. This is Mike
Driscoll of Sheppard Mullin on behalf of Mead Johnson. We're
not taking a position specifically with respect to this motion.
I would like to be heard with respect to the response, and as
others have indicated, that there is a substantial overlap of
issues between this issue and a 363 sale.

THE COURT: Weil, let's hang on to that --

MR. DRISCOLL: Thank you, Your Honor.

THE COURT: -- until the next motion and I will, I
promise, Mr. Driscoll, you'll have that opportunity before too
awful long. Anything else as it relates to the stay from the
standpoint of Mead Johnson?

MR. DRISCOLL: No, Your Honor, thank you.

THE COURT: All right. Very well. Thank you,
Counsel.

So Mr. Shapiro, now you've heard the universe of

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comments from those who have appeared today as it relates to
this motion. The floor is yours for rebuttal.

MR. SHAPIRO: Thank you, Your Honor. Again, Brian
Shapiro on behalf of the bankruptcy estate.

Just, again, perhaps just a little bit of a preview
so Your Honor is well aware, it is possible that based upon the
next motion, this underlying issue may become a non-issue, so I
want. Your Honor to simply be potentially aware of that.

Regarding simply notice, I think it's uncontested
that notice was not completed, was improper. One question
which perhaps you asked, but I didn't hear the answer to, to
Ms. Guymon, is why didn't Prolacta give notice to all of the
creditors and why didn't Prolacta advise this Court as to why
they failed to serve the creditors at the time of the hearing?
I don't know if that question was asked or --

THE COURT: No. I just asked the very specific
question of who they served and what part of your recitation of
who got served was inaccurate. I didn't ask the whys, because
I'm not really sure it matters. But if you want to --

MR. SHAPIRO: Thank you, Your Honor.

THE COURT: -- opine in connection with argument, I
suppose, go right ahead, Mr. Shapiro.

MR. SHAPIRO: Thank you, Your Honor. You inquired
with Prolacta to the extent that this Court was going to set

aside the prior order when they had the absolute right to

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refile the motion to terminate stay. That answer clearly is
yes. Of course then Your Honor would then have to reexamine
the factors. The Court when it initially made its decision,
and again, the transcript is attached, was clearly focused upon
the Subchapter 5 plan, that the confirmation plan was upcoming,
as well as there was a motion to estimate the claim. The
reason that the motion to estimate was filed was because they
had not yet filed a proof of claim at that particular time, and

again, they did file a particular claim subsequently.

In ali of the -- perhaps not one single factor for
instance, the conversion of the case to a chapter -- froma
Chapter 11 to a Chapter 7, doesn't constitute extenuating

circumstances, as Your Honor correctly pointed out. It happens
all the time, converting cases from Chapter 11 to 7, or even
vice-versa. But when you combine all of the additional facts,
that's what the estate is arguing. It's not just one single
item. It's all of the different facts which have occurred.

I wanted to point out in their opposition, they
requested this Court to provide the state court with some type
of instructions. I respectfully request this Court not to. I
don't believe that issue is properly in front of this Court. I
believe, Your Honor, that in order to clarify a prior order, an
apropos motion needs to be filed, likely under Rule 60 as well,
and that has not been done. It was simply indicated in their

opposition request to clarify or further instruct the

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underlying court.

So with that said, Your Honor, I have nothing else to
add. I appreciate the time and that Your Honor heard this on
shortened time. I guess I should point out the reason I
initially filed it without shortened time is I didn't think
that there was an urgency. It didn't become an urgency really
until there was a threat seeking to enjoin the estate from
potentially selling, conveying, or transferring property of the

bankruptcy estate.

So with that said, Your Honor, I have nothing further
to add. Thank you very much.

THE COURT: Good enough. The stay of relief motion
matters -- or actually, the motion to -- it says motion to
reinstate, but I understand what this really is, and counsel
was clear on it before what this is, is a motion to address my

prior order granting relief from the automatic stay under
Federal Rule of Civil Procedure 60(b), applicable here under
Bankruptcy Rule 9024. This matter is submitted. The record is
closed. Don't bother filing anything else. If you do after
the record is closed today, I will not consider it.

I will, however, issue my oral ruling as it relates
to the stay.

On August 9th of 2021, Ms. Shim, my last matter on my
10:30 calendar, and the reason that I will do it that way is

because that is in advance, at least, of the 1:30 hearing that

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the state court kicked out on that same day. At least the
parties when they appear in state court will have the benefit
of my ruling as it relates to the automatic stay in hand.

So matter submitted. The record is closed. I mean
what I say. Don't bother filing more papers. The oral ruling
on this motion will be issued on August 9th, 2021, as the last
matter on my 10:30 calendar. You guys got to wait through my
relatively short stay relief calendar at 10:30 that morning.

So thank you for the argument, counsel. It's helpful to the
Court. The arguments have been, again, as it has been
consistently in this case, helpful in connection with my
calculations as to what I'm supposed to do next, and you'll all
know what that is on August 9th, my last matter on my 10:30
calendar.

Leaving, then, Item Number 1 on my calendar today, a
motion to approve a settlement. Same appearances that were
noted in connection with the stay relief motion are noted here
as it relates to the second -- or Item Number 1 on my calendar,
the motion to approve the settlement. You need not appear a
second time if you already have. I just want to make sure I
haven't overlooked anybody. Is there anyone else who hasn't
appeared that would like to appear as it relates to the motion
to approve the settlement? Going once. Don't be shy if you're
out there. Going twice. All right. And so the record is

clear, appearances to -- in connection with this motion to

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approve the settlement. Mr. Shapiro on behalf of the -- as the
trustee, Mr. Zirzow on behalf of the debtor, Misters Driscoll
and Shea on behalf of Mead Johnson, Ms. Guymon for Prolacta,
Mr. Cram on behalf of Mr. Hughes, Ms. McHenry for M-2 Lease
Fund, Mr. Livermon for Liquid Gold. The Court notes Elena
Medo's appearance as well. Any other appearances out there

that I've managed to overlook? Going once, again, don't be

shy. Going twice.
All right. Hearing none, so, Mr. Shapiro, a motion
couched, at least, as a motion to approve a settlement. This

1s yours.

MR. SHAPTRO: Thank you, Your Honor. Again, Brian
Shapiro on behalf of the bankruptcy estate. And if I may, Your
Honor, if I just make one quick comment regarding August 9th,
2021, I am not, by the way requesting Your Honor to continue
it, but out of courtesy to this Court, that happens to be my
Chapter 7 panel day. So I will likely not be on the line, as
much as I desire to be on the line, unless I'm able to somehow
pop out of that 341 meeting, I will likely have someone
listening in for me, but I don't mean any disrespect if I am
not at that hearing due to the fact I do have my Chapter 7
panels I believe on August 9th.

THE COURT: All right. Understood and appreciate it.

MR. SHAPIRO: Unless I am -- unless I'm mistaken, but

I believe I do.

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THE COURT: No, and I can't -- you know, I'm not
going to -- I'm -- I have only so much time on my calendar, and
as you know, and you're busy as well. So are all the other

lawyers who appeared today. This matter needs to be resolved.
This matter being the stay relief question. So I'll do it as
scheduled, and I -- no -- no disrespect would be taken in the
event that you're unable to appear, as long as -- if someone
else listens in, that's fine, and of course if you have
questions about what was said, you'll be able to obtain the
recording of what the Court had to say by communicating with
the Court in the ordinary course with respect to our Courtroom
Deputy ought to be able to handle that, I would think.

So understood, Mr. Shapiro. Thank you for the heads
up. That aside, motion to approve the settlement?

MR. SHAPIRO: Thank you, Your Honor. Again, Brian
Shapiro on behalf of the estate.

Initially, I just would like to go through a little
bit of general background of what occurred, and how we came up
to today and the motion to approve the settlement, and then
advise this Court of kind of what has occurred actually first
thing this morning, right prior to the 9:30 hearing.

So initially, Your Honor, when this Court orally
granted the motion to dismiss and converted the case to the
Chapter 7 case, Your Honor is aware that I was the Subchapter 5

trustee, I was unaware at that time if I would become the

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Chapter 7 trustee. However, I wanted --

THE COURT: Right. The United States Trustee makes
that --

MR. SHAPIRO: -- to make sure that ~-

THE COURT: -- appointment in the interim, and we
have processes in place to make sure that happens in a timely
way. The Court understands that transition, Mr. Shapiro.

MR. SHAPIRO: Correct. I wanted to make sure that
the parties that were participating knew that an immediate
issue was going to arise, and that was with the DIP lender.

The DIP lender, immediately upon entry, or not entry, upon oral
determination the Court was going to convert this case really
called the loan under default, which, based upon this prior
court order approving the DIP financing permitted the DIP
lender to, in essence, upon default, without any further order,
this estate was immediately terminated, obtain the collateral,
and then immediately proceed to foreclose upon the collateral.

So at that moment in time, from my perspective as the
Subchapter 5 trustee, time was of the essence, and whether I
was going to be the Chapter 7 trustee, I didn't know. As a
result, the Chapter -- Subchapter 5 trustee immediately
contacted the two main parties that were actively involved in
the case, and that would be Liquid Gold and Prolacta, and urged
them to immediately consider potentially either financing the

continuing operation of the debtor in a Chapter 7 case, so

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there could be some type of actual 363 sale, at least a way to
formulate that by a continuing operating of the company, and
the reason that was suggested was it appeared that as an
operating company, that's probably where the value was, rather
than simply trying to liquidate the assets.

Or alternatively, make an offer to purchase the
assets of the estate, because again, time was of the essence.
The DIP lender was also contacted as well, to see if the DIP
lender was interested in permitting, and perhaps even providing
additional funds for operation of the business within a Chapter
7, or alternatively, if the DIP lender wanted to purchase the
assets of the estate, again, acknowledging at least as the
Subchapter 5 trustee, that the business was probably more
valuable as an ongoing business rather than simply a
liquidation of the business.

Unfortunately, I -- well, I shouldn't say
unfortunately. I was then appointed as the Chapter 7 trustee,
and then I started communicating as the Chapter 7 trustee to
the same parties as well as other parties. Those other parties
would consist of parties that I became advised had some type of
interest in the debtor's business, to see if anyone was
interested in purchasing the assets of the company.

I received notice, and this is part of the record,
from Prolacta that they had no interest in either funding nor

purchasing the assets of the Chapter 7 bankruptcy estate. I

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was advised by the DIP lender that they had no interest in
throwing additional funds to operate nor purchase assets of the
bankruptcy estate, and regarding Liquid Gold, I don't believe I
received any further communication from Liquid Gold one way or
the other, but without a doubt, I was clearly in communication
with counsel for Liquid Gold.

I did and I believe this is part of the record as
well in my declaration, I had communication with several other
parties that may be interested in potentially purchasing assets
of the bankruptcy estate. The problem that the estate had was
that the estate was going to, in essence, lose control of those
assets, based upon the agreement that Your Honor previously
provided to the DIP lender, as well as the lender immediately
being able to foreclose upon those assets.

I went to the location and I obtained a spreadsheet
which was provided, and it was attached to this motion. I

believe it's Exhibit Number 5, and it was represented to me

that all of those assets were located on the premises. It is
not a small premises, Your Honor. It is fairly large. Imagine
a grocery store, a large grocery store, that was changed into

this business. Huge freezers and other equipment was located
on the premises, and I was assured that the items that were on

that list were located in the property, and I put that within

‘my declaration. But the list, for avoidance of doubt, was

produced by the debtor's principals, and that's where that

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spreadsheet came from.

Again, I obtained that because I knew that the estate
was going to lose control of that location in favor of the DIP
lender pursuant to the DIP lender's underlying agreement. In
fact, they did lose control as the DIP lender had taken
possession of all of the collateral, pursuant to its rights
under the agreement and pursuant to this prior order in essence
terminating the stay.

So taking that -- where we're at is that I
subsequently had to make a determination. Could I bring some
funds into the bankruptcy estate? After analyzing the lending
agreement, and knowing that no one was interested in purchasing
the assets at that time of the estate, although I did have
parties that were interested in purchasing assets, but no one
was willing to purchase the assets in an as-is/where-is
condition. They wanted to make sure that the assets were
actually owned by the estate.

Knowing that I could not do that without litigation,
I wasn't agreeable unless there was some huge dollar amount
that was thrown to the bankruptcy estate to enter into such
agreement. And there was some due diligence, which was done by
other parties that I was able to provide to them as well.

But anyhow Your Honor, I started looking into
potential theories of causes of action against the DIP lender,

and three theories of potential liability simply jumped out.

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Whether the estate would prevail on that, I don't know. But
those liabilities included a potential fraudulent transfer
action, a potential argument that the DIP lender was subject to
the equitable notion of marshaling, and probably the weakest
argument of those -- of the three would be the following, that
the DIP lender was not properly secured in all of the assets of
the bankruptcy estate.

Negotiations started taking place. An offer was
made, and the estate entered into a settlement agreement with
the DIP lender as well as an amendment to that particular
agreement which is attached to the motion to approve the
settlement.

In essence, the settlement provides that the DIP
lender has the ability, assuming Your Honor is to approve it,
to immediately foreclose upon all of its collateral, and the
estate would consent to such foreclosure of the collateral.

The estate is not selling, nor conveying, nor transferring,
although one could argue that by giving up the rate -- the
right to contest such foreclosure, perhaps it is somewhat of a
sale.

In exchange, they would take that collateral for the
full amount of the underlying debt at the time of the filing
the motion. It was approximated at $600,000, but it's
probably, I believe closer to potentially $700,000 at this

time. Moreover, in exchange, the debtor -- or excuse me, the

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DIP lender, agreed to pay the bankruptcy estate $750,000, and
agreed regarding to some of the assets, they would be deemed to
be property of the bankruptcy estate as well, and those assets
would include cash, any and all causes of action, avoidance
actions, that is. A potential claim that the estate believed

that it may have against Prolacta, and any and all account

receivables.
As a result, I was able during this time frame to
collect some of those account receivables, and those funds have

been deposited into the trustee account, and the amount of
those funds were actually indicated in the reply that was filed
last night, what the estate currently is holding.

After the filing of the motion, several creditors or
several parties of interest, I should say, came to the
trustee's attention that were potentially interested in
purchasing the assets of the estate. One of those is Prolacta,
and the other is Mead Johnson. Mead Johnson had the ability to
do a little bit of due diligence based upon the limited
information and documents that the estate was able to obtain.

I say estate. I mean myself as trustee and in fact, I think
spent about nine hours at my office going through documents
that the estate had.

They were aware -- this is being Mead Johnson.
They're aware that the estate could not sell assets that were

not property of the bankruptcy estate. However, the estate was

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unable to make a determination as to what assets the estate
actually owns, in particular, the fortifier, which is the -- I
guess the big issue that's in dispute with Prolacta. You've
seen the response, in which they desire to make a -- well, they
submitted a letter of intent to the estate, and filed that with
the Court, which is non-binding. It has a variety of
qualifications, including continuing of due diligence. It is a
$2 million offer, and it does exceed, in some respects, the
offer that was made by the DIP lender. However, due to time
constraints and the potential that that would not be even
something that they're willing to go through, the -- I on
behalf of the estate don't believe that it's a feasible offer
at this moment in time.

Conversely, and probably more importantly at this
time, Prolacta has made a -- and I'm sure Ms. Guymon will
advise this Court in a moment, what I consider to be a firm
offer as well as a better offer than what the proposed
settlement is with the DIP lender, and I'd like to simply
recite the terms of that offer so Your Honor is quite aware of

what Ms. Guymon 1s going to make and if you'd just give me one

}moment, as I was looking through a variety of different

documents.
THE COURT: Take --
MR. SHAPIRO: I don't have --

THE COURT: I understand. In preparing for this

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hearing, Mr. Shapiro, I get it, take whatever time you need,
and when you find it, go right ahead.

MR. SHAPIRO: Thank you, Your Honor, and I do have it
now in front of me.

It is my understanding that Prolacta, by and through
Ms. Guymon, is going to make the following representation to
this Court; that they're willing to make an initial binding
overbid offer on the settlement in the amount of $1,650,00 for
any and all assets of the estate excluding cash, account
receivables, and all causes of action in an as-is/where-is
condition, without any representations or warranties, including
but not limited to transferability of such assets, and that
Prolacta, by and through Ms. Guymon, has advised me that her
client is going to wire such funds into her trust account later
today.

And to clarify, again, is that the sale would not
include any of the cash, which is significant, Your Honor,
because that cash, pursuant to the settlement agreement, would
split 50/50; the account receivables would not be sold, again,
that's significant to the estate, due to the fact that that was
also split 50/50.

The estate is not selling any causes of action, and
those causes of action would include any potential actions
against Prolacta, and/or any avoidance actions to the extent

that any of them exist. Moreover, again, to clarify, the

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estate would not be selling, nor waiving, any type of
attorney/client privilege, or any other privilege to any party.

So what you have in front of you today, assuming
Ms. Guymon is going to agree with those representations, is
that you have a -- what I perceive to be a capping offer that
is better than the settlement which is now being proposed to
this Court. You have the ability, I believe, as -- we did cite
to 363, you have the ability, Your Honor, and I would request
and orally move to make this motion to approve the settlement
into a 363 sale, and allow parties to simply overbid at a
future date and time.

Based upon my conversations with Ms. Guymon, that
future date and time was requested to be in approximately a
week. The reason for the quick time frame, Your Honor, in some
respects, again is because the secured creditor has the ability
to potentially foreclose upon the collateral. However,
pursuant to my agreement, which I entered into with the secured
credit -- the DIP lender, they have agreed not to foreclose,
pending further order of the Court, provided that the Court
entered an order. I don't recall the date off the top of my
head, but it was sometime in August, assuming the Court entered
an order prior to that particular date and time.

I was going to present the motion to approve the
settlement, and suggest, Your Honor, that that motion was

certainly in the best interests of the bankruptcy estate, and

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that the ANC factors clearly were met, despite the opposition
which was filed by Prolacta, but based upon the representations
that were made to me this morning at approximately 9:15 a.m.,
and confirmed by emails, it would be clear to the estate that
the offer which is being made by Prolacta is a better offer
than the settlement motion which is being heard today. And I
have passed that information on out of courtesy as well as
transparency to the DIP lender, so they're well aware of the
circumstances, and I also attempted, Your Honor, to advise this
Court maybe a minute prior to the hearing, of the potential
change of circumstances which occurred --

THE COURT: Well, let me take that --

MR. SHAPIRO: -- Just moments prior to --

THE COURT: Let me take that off of your plate,

Mr. Shapiro. My intrepid --

MR. SHAPIRO: Thank you.

THE COURT: -- courtroom staff, and particularly my
clerk brought that to my attention, that there were matters --
well, and specifically, the Mead Johnson that came to his
attention after he had prepared last night. He was here early
this morning, and so was I. So I understand, and I appreciate
the additional information about Prolacta's offer. We'll find
out more about that. But I don't want you to be afraid that I
was unaware before today's hearing that these additional issues

might pop up. So take comfort in that to the extent that there

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is comfort to be had, and with that, go right ahead with your
motion.

MR. SHAPIRO: Thank you, Your Honor. So again, Brian
Shapiro on behalf of the estate. I was going to make arguments
based upon the opposition which was filed by Prolacta, in the
arguments pertaining to standing, as well as that the estate in
fact met the A and C factors, and met its burden of proof.
However, in light of Prolacta's -- being advised that Prolacta
was going to make this propping offer, obviously, there's no
reason, I believe, to make that argument.

So again, orally, Your Honor, I would be making --
requesting this Court to continue the matter for approximately
one week, to give parties an opportunity if they so desire to
participate in an in-court auction to purchase any and all
assets of the estate, as I expressly stated just a moment ago,
with a minimum bid, which would be the opening bid, of
$1,650,000 by Prolacta.

With that said, Your Honor, I'm here to answer any
questions that you may have. I should note that I'm thankful,
and I'm happy to hear that Prolacta is interested in purchasing
the assets of the estate. I would also note that I was happy
that we had Mead Johnson actually do some due diligence, and
kick the tires. Clearly, in a perfect world, the estate would
know exactly what is owned, and would have the ability to sell

things free and clear and provide warranties, and go through a

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duly noticed 363 sale. Unfortunately, this is not a perfect
case, and it's not a perfect world, and I don't have the luxury
on behalf of the bankruptcy estate to actually do that at this
moment in time, because I do have the possibility of these
assets being foreclosed upon relatively sooner than later.

So that's where the estate stands, and I'm more than
happy to answer any questions or concerns, and I'm hopeful that
Ms. Guymon will chime in, and hopefully agree with the
statements that I've made on the record.

THE COURT: Sure. I'll hear from Ms. Guymon in just
a moment, because I'm interested, obviously, based on your
representations here, Mr. Shapiro. The concern that I have is
that what I have here is a motion to approve a settlement.

What I don't have is a pending motion for truly, a sale and
particularly setting it up for an auction that would contain
all of the provisions that you would expect in connection with
the 363 sale, such as specifically, what assets are being sold,
you know, as-is/where-is, or with some warranty. What the -- I
assume I'll hear from Prolacta and they'll tell me, but I
assume that their bid would be a stalking horse bid. I wonder
if there would then be any request for some sort of a breakup
fee.

I wonder if there would be any sort of a request for
establishing what the overbids would be. I need to evaluate

that part of a potential sale transaction, in order to make

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sure that the sale is conducted in accordance with Section 363,
and certainly, you have multiple bidders, which the Court is,
you know, again, I -- that's a good job out of the trustee to
~~ this quickly, generate at least some market for the assets
that would be sold.

Would it be your contemplation that you would amend
the motion that pends before me here, which is a settlement
motion, so that it would in fact be a sale motion under Section
363 that would address the required information contained in
the Local rules and so forth, so that whatever court consider
-- would conduct the auction would be able to discern how to
conduct it?

And I will tell you that I'm asking this question not
because I'm being pedantic. I'm asking it because I'm not
going to be here next week. I am going to be out of the
district, but that doesn't mean that I can't have another judge
conduct a Section 363 sale in my absence if they're available
to do so, and I certainly don't want my absence to delay what I
consider to be a breakwater moment in connection with the
administration of the Chapter 7 case. So my -- that's a long
way of asking this question. Is the idea to amend this motion
to make it a 363 motion so that the parties know what they're
-- what the structure of the proposed sale looks like? What
the assets are and what the terms and conditions including with

that limitation, the stalking horse bid, the overbid amounts,

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and the -- stalking horse bid -- oh, the breakup fees, if any,
as it relates to the motion? Help me understand.

I think I know what you're contemplating, Mr.
Shapiro, but I need to be sure, because if there's going to be
a sale next week, then you're going to have a judge not named
Landis that's going to conduct that sale, and I want to be able
to be sure that the record is clear for the judge who conducts
the sale as to what the terms of the sale process would be.
Help me?

MR. CRAM: Your Honor, can I interrupt? This --

THE COURT: No. No.

MR. CRAM: -- is Don Cram, Your Honor.

THE COURT: You can't interrupt, Mr. Cram. No. I'm
talking to the trustee right now.

Mr. Shapiro?

MR. SHAPIRO: Thank you, Your Honor. Brian Shapiro,
again, Subchapter 5 trustee.

THE COURT: No, former Subchapter 5 trustee, now
subchapter -- now Chapter 7 trustee.

MR. SHAPIRO: It's been a long morning this morning.

THE COURT: All right.

MR. SHAPIRO: Again, Chapter -- let's just say Brian
Shapiro on behalf of the bankruptcy estate. Maybe that's easy.

THE COURT: All right.

MR. SHAPTRO: Easier for me, Your Honor. So from my

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1] perspective, from the estate's perspective, it can be done in

2] two ways, and I think there is a probably better way than the

3]/ other, especially if Your Honor indicated that you won't even

4} be here to hear it.

5 But the first way is, you know, I can make --

6} certainly, it can be done by oral motion and advising this

7H Court of what the terms are, et cetera, because the basis of

81 the underlying motion was filed, and the citations that were

9 contained in the motion, it could be interpreted-as a 363 sale.
10} And I think that's the weaker of the two statements.

11 But the other statement I could do, Your Honor, and
12]}more than happy to go do that, alternatively, is actually file
13]/a -- it would be either an amended motion, or an additional
14f}/motion to sell the assets, based upon the terms which I've
i5}/ indicated. There is no breakup fee, nothing was contemplated
16]) pertaining to that, and in creating some type of standard
17]) provisions, if someone wants to actually overbid at the time of
18} the sale, and I would -- I think that is probably quite frankly
19], the better of the two options. It may certainly keep me busy

20]}/ this weekend, to actually go do that as well.

21 THE COURT: I feel you, Mr. Shapiro.

22 MR. SHAPIRO: The issue, however --

23 THE COURT: I feel you.

24 MR. SHAPTRO: Yeah. But the issue, however, and

25]) let's be frank, in some respects, is one of notice. We've

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already had that argument a moment ago in the other motion.

Your Honor is well aware of at least my concerns in
other cases that I've appeared is notice has always been
important as a Chapter 7 trustee. There is a huge amount of
creditors, and Ms. Guymon's already indicated, and believe me,
I'm well aware as well, the cost to file such notice and serve
these items just by regular mail. To be sure, if a hearing was
on Friday, and I was to serve everything by U.S. Mail at the
latest on Monday, the time frame for a creditor to even
consider participating is going to be extremely limited. And
acknowledging that does happen in bankruptcy court, and you do
the best that you can, but I want to be frank, that there would
be an issue of potential notice to those creditors, and the
cost to serve everyone, say by overnight mail maybe just
extremely expensive for the bankruptcy estate to go do that. I
would think that perhaps I may be able to get some assistance
from another party, but it could be a very expensive ability to
actually do it. But it may, on the other hand, could benefit
the estate as well.

So with that said, I would suggest, Your Honor, if I
am going to file a motion, which again, I think is the better
of the two options, is that perhaps not have such hearing the
following Friday, but perhaps sometime thereafter. The
following ~- the week thereafter, in order to get notice to

parties and give proper notice to parties, and have

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opportunities if someone actually wants to appear in court.

And that way, it's duly noticed, everyone knows the
potential terms -- or not the terms, but to actually know the
terms and what's going to occur. I don't know if you'll be
available that following week, but even if you're not, I think,
again, the issue of notice, to me, is very important in a
Chapter 7 trustee context, and I think that probably is the
best of the two scenarios, and I do think that still gives me
an opportunity to avoid any potential foreclosure by Mr. Cram's
client, because again, I don't believe that he can foreclose

until the date certain, which was contained in the motion.

Now, I also want to point out that that is based upon
my position, and he may have a contrary position. I don't
know. But pursuant to the terms of the underlying settlement

agreement, is if the estate enters into a 363 agreement, he has
the absolute right to terminate the offer and the sale, and
could immediately foreclose. Knowing my discussions with
Mr. Cram previously, I don't think that's the intent, but that
would be one of my concerns as well that they would take the
position that they can immediately terminate and foreclose on
the collateral. Based upon the motion that was filed, they
were not permitted to do so for again, a time certain, unless I
entered into a subsequent agreement.

THE COURT: Fair enough. And good enough. Anything

further as it relates to Item Number 2 on the calendar before

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you get the last word, because you will have it on rebuttal,
Mr. Shapiro?

MR. SHAPIRO: Brian Shapiro on behalf of the estate.
No, Your Honor, I think that's enough at this time.

THE COURT: All right.

Mr. Hughes, I said no because I was talking to the
trustee, but now I'm willing to hear what you have to say as it
relates to the motion.

MR. CRAM: Your Honor, this is actually Don Cram on
behalf of Mr. Hughes.

THE COURT: What did I say? That's what I intended
to say, Mr. Cram on behalf of Mr. Hughes.

MR. CRAM: Your Honor, I was just -- I'm sorry for
interrupting Mr. Shapiro, but I was going to just make I guess
the offer that my client -- I mean, my client is obviously
interested in having the settlement approved, but understands
that, you know, the trustee has to do what's in the best
interests of the estate, and, you know, my client is interested
in what's best for the estate and creditors as well.

THE COURT: Well, and in getting --

MR. CRAM: Having a --

THE COURT: -- paid for the money that he advanced as
the DIP lender, I would expect.

MR. CRAM: That's right, Your Honor. And so I know

that there's some very tight time parameters in the event that

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a 363, a competing 363 offer is made, and allows my client to
terminate the settlement agreement. It allows my client to
immediately foreclose on the assets. But I was going to offer
to -- my client has instructed me that he will delay that --
voluntarily delay that foreclosure process so that a more
robust, I guess, 363 process can occur, and instead of, you
know, having it next week, would refrain from foreclosure for a
two-week period, just to have a more robust procedure, as the
Court is alluding to.

THE COURT: And I'm appreciative of that, Mr. Cram,
on behalf of Mr. Hughes. That's heipful, in terms of
scheduling, and it certainly assists the trustee in doing what
he's required to do under Section 704 of the Code, which is
maximize the value of the assets through liquidation, and
that's helpful information, I'm confident, to the trustee.
Anything further you'd like to add on behalf of the DIP lender,
Mr. Hughes, Mr. Cram?

MR. CRAM: No, Your Honor. I just -- I mean, I think
with -- I mean, assuming Prolacta follows through and makes the
deposit into Ms. Guymon's trust account, and the trustee
receives confirmation of that today, IT think a robust 363
process with a sale free and clear of liens would benefit the
estate.

THE COURT: Very well. Thank you for your input,

Mr. Hughes, that's help -- Mr. Hughes. Again, Mr. Cram, on

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behalf of Mr. Hughes, that is helpful.

The next part of the puzzle that I need to know about
comes from Prolacta, Ms. Guymon, because I have the Mead
Johnson papers on the docket, then T have the trustee's
representations as to Prolacta's interests in acquiring the
assets of the estate.

Help me understand what the parameters are of
Prolacta'’s interests, and the terms of their proposed purchase?

MS. GUYMON: Yes, Your Honor. The terms that were
set forth on the record by Mr. Shapiro are accurate. My
client, maybe not happily, but in order to preserve the
evidence and preserve its property interests, has agreed to pay
$1,650,000 and wire those funds into my trust account, and has
agreed to the trustee's requests for no representations or
warranties as to the assets.

THE COURT: All right. And with respect to the
process, now, the trustee has suggested a 363 sale. Your
client then at $1,650,000, willing to serve as a stalking horse
in connection with a 363 sale?

MS. GUYMON: Yes, Your Honor.

THE COURT: All right. That's helpful. And
obviously informs the Court with respect to the issues that are
pending on this motion in a substantive way. Anything further
you'd like to add as it relates to this motion at this point,

Ms. Guymon?

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MS. GUYMON: Well Your Honor, the trustee did argue,
technically the motion to approve settlement, in part. So does
Your Honor want to hear my argument, or may I preserve the

argument in the event that something happens, and a sale is not
concluded?

THE COURT: It's not my intention to rule on this
motion today, at this point --

MS. GUYMON: Okay.

THE COURT: -- based on what I know, Ms. Guymon. So
to the extent that there are additional issues that need to be
addressed at a substantive time, I think they'll be addressed
in a different procedural posture, but we'll find out soon
enough. Anything else?

MS. GUYMON: No, Your Honor.

THE COURT: All right, thank you, Ms. Guymon.

On behalf of Mead Johnson, who made my life
interesting this morning by making a $2 million bid on specific
assets of the estate, Mr. Driscoll, Mr. Shea, your thoughts?

MR. DRISCOLL: Yes. Yes, Your Honor, thank you.

Mike Driscoll of Sheppard Mullin on behalf of Mead Johnson and
Company, LLC. Your Honor, Mead Johnson, as you're aware, filed
a response which is at ECF Number 339. We are happy to hear
that the trustee is going to move forward with an auction
process. We'd like to note a few things.

First, I'd like to start with who Mead Johnson is,

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why we are here, what are some of the challenges going forward
for Mead Johnson, and why our presence in an auction process
would be critically important for the estate.

So first, who is Mead Johnson? Your Honor, we are a
global leader in developing and marketing nutritional products
for infants, including Enfamil brand. We sell products in more
than 70 -- we sell more than 70 products in 50 countries. In
short, we are a highly sophisticated and major player in infant
nutrition. Given our deep badge of expertise, we are well
poised to take what may be an incomplete product, get
approvals, and get it to market.

If Medolac's claims are true with respect to the
efficacy and the safety of this product, the human milk
fortifier may be a promising product, so we see potential here.
We have the interests, tools, and experience to get this
product to reach its full potential and get it into the hands
of hospitals and parents to help infants. In light of our
interest, yesterday we submitted a conditional offer to
purchase the fortifier and related assets for 2 million.

And so next I'd like to address, what are the
conditions and what are the problems that we see, Your Honor?

So despite our significant interest in the fortifier product,

we see problems. First, we will need additional diligence to
get comfortable. Gaps in the diligence that have been
available to us is, where is the fortifier, its recipe, and

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related products? So where are they stored? Who has claims to
those assets? So obviously, we've heard of Prolacta, but who
else has potentiai claims, including former employees? What is
the full scope of the agreements between Medolac and third
parties? To name a few.

So for example, Your Honor, we will need to know
whether there are research universities that have partnered
with Medolac that claim the data as their own. Therefore, we
believe that more documents and information need to uncovered
on an expedited basis, and this needs to occur prior to an
auction. Another issue we see, obviously, is the Prolacta
claims, and we're aware of these claims, and we're aware of the
debtor's, you know, significant denials that they did not
engage in trade secret infringement. We don't have a position
specifically as to the veracity of Prolacta's claims. If
Prolacta, however, is going to bid, then we need to know if
they are going to contest the assets being sold free and clear,
and we will need to know whether they will be asserting claims
against the buyer, a competing buyer.

It's true that this Court cannot sell what it does
not own, but it's also true that you don't buy something that
you already own. We are an outsider looking in --

THE COURT: Well, I think that's --

MR. DRISCOLL: -- and --

THE COURT: I think that's probably an overstatement

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in the context of 363 sales where there’s litigation pending
between the creditor and the debtor, but go ahead, Counsel.

MR. DRISCOLL: Understood, Your Honor. But we're an
outsider looking in, and they can't have it both ways, that
they're going to participate in an auction and say others will
be liable if they buy the assets. If they're going to
participate, fine, then they will need to be clear that the
fortifier is property of the estate, and can be sold free and
clear. If they're not going to do that, then it seems that a
determination needs to be made of whether Medolac owns the
assets, the fortifier, specifically, and Your Honor has the
opportunity to adjudicate that issue. The Court would not need
to determine the full dispute that's between Prolacta and
Medolac. It would not require a three-way trial. This is a
discreet, limited issue of ownership of the estate that falls
well within Your Honor's core Jurisdiction.

The issue would be narrowly focused on whether the
fortifier is solely the debtor's property. Ultimately, what we
want is a robust sale order that protects us, and potentially
other bidders from claims by third parties.

THE COURT: Sure, what the alternative would be --

MR. DRISCOLL: Your Honor --

THE COURT: -- though, would be to let the trustee
dictate what the terms of the proposed sale would be, and then

let Mead Johnson decide if it wants to be a bidder.

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1 MR. DRISCOLL: Well, Your Honor, that's an excellent
2 point. So while I -- we believe our participation in an
3] auction would be critical, and we would like Your Honor to set
4 the stage for that to happen. So right now, we have a
5] $2 million conditional offer that has the ability to reach much
6|| deeper into the unsecured body than even Prolacta's offer.

7 With our offer, the estate gets to keep 184K in cash, 131K in
8] receivables. There's also the issue of whatever liability that
Oo} Mr. Hughes has to the estate, we take obviously no position on

10] that. There would be the claims of the estate against

lif} Prolacta. We take no position on that. And there would be

12] Chapter 5 claims. So all of that gets added onto our 2 million

13} bid, and then if there is an auction, the price will only go

14] up.

15 So Your Honor, what we want is additional diligence.

lof} We want clarity of the protections that we would be getting

17 under a sale order, and to the extent Your Honor is able to do

18H so, to have the auction put out as far as possible, so that,

19} you know, Mead Johnson can make a determination of whether

20) we'll actually participate.

21 Your Honor, this concludes my argument. I'm happy to

22] answer any questions you have. Thank you very much.

23 THE COURT: Thank you, Counsel, but I -- you've

24] answered the questions that I had.

25 Mr. Livermon, quietly waiting, thoughts with respect

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to the sale process, the way that this motion is sort of
morphing at this point in time?

MR. LIVERMON: Thank you, Your Honor. Of course
Liquid Gold would like for a robust auction process to take
place and have a competitive bid process, so that any that have
an interest in these assets can come forward and bid, having a
period of time to do the due diligence that gets them
comfortable to submit a bid. I believe that it would be
appropriate for Mr. Shapiro to put forth before the Court what
the current offer that he has from Prolacta is, so that the
parties can understand what, if any, contingencies or
conditions go along with that, what the effect of a sale would
be, and let the parties come before the Court after a
reasonable time to submit those, any competing or topping bids
that they wish to make.

So Your Honor, I would support, obviously, an
adjournment of today's hearing, to give Mr. Shapiro the
opportunity to put before the Court a 363 procedures motion,
and give the parties a reasonable time to come back with a
topping bid. Thank you.

THE COURT: Very well. Thank you, Mr. Livermon.

I haven't heard Mr. Zirzow. Your thoughts?

MR. ZIRZOW: Your Honor, on behalf of the debtor I
just haven't had a chance to really discuss it, and you know, I

understand the debtor's more limited role in a Chapter 7.

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Speaking on behalf of my law firm as an administrative
creditor, however, you know, I hear some positive potential,
you know, suggestions of a sale. I'm concerned when we have a

deal in hand, that, you know, we have a lot of conditional
offers and suggestions that people are going to offer money,
but frankly, Your Honor, the conversion happened a month ago.
I'm not sure why we're having all this last minute, you know,
hysterics. People were questioned by Mr. Shapiro whether they
-- and Prolacta and Mead Johnson, and they both said, well, no,
not really, and now a day or two before the hearing, they're
all coming in.

So I don't want to lose the bird in hand we have with
the DIP lender for the potential of more, but with a whole
bunch of conditions. So I Just wanted to express that concern
for Your Honor.

THE COURT: Sure.

MR. Z2IRZOW: Now what I'm hearing this morning, which
is also news to me, is that the DIP lender is willing to
forestall any foreclosure, which is encouraging. But just, I
wanted to highlight for you the amount of time that has elapsed
Since the conversion, and how these parties that are now saying
they're interested previously said they weren't, and hence why
the trustee took the action that he did.

So I'm concerned about timing, I'm concerned about

people saying things, about using it as a Trojan Horse to do

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discovery, like Prolacta, or Mead Johnson, who has really been
sitting idly by for way too long, and now suddenly coming in.
But hopefully, I'm proven wrong. Hopefully there is a real
sale process that started, but just understand my concern with
the lack of action to date. I hope things change in the near
term, because I would hate for us to lose all of the offers,
Prolacta to back away, Mead Johnson to not get comfortable with
the many, many conditions it wants, and Mr. Hughes to say, you
know what, I'm just going to foreclose, and I'm not going to
pay the estate 750,000. So I just wanted to express that for
Your Honor. Thank you.

THE COURT: All right. So, Mr. Shapiro, now you've
heard the universe of comments back as it relates to what was
originally a motion to settle, which is now apparently seeming
to morph at least towards, if not morphing into a Section 363
sale. Rebuttal?

MR. SHAPTRO: Brian Shapiro on behalf of the
bankruptcy estate.

First of all, thank you for everyone for making
comments. I certainly appreciate that. But Your Honor, the
estate is on a very, very tight time frame. I appreciate the
DIP lender's agreement to extend the ability to foreclose. I
have obviously been aware of their ability to do so, and
however, with all due respect to Mr. Zirzow, I do have a

obligation on behalf of the bankruptcy estate for all creditors

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in order to bring potentially additional funds into the estate.

Considering the representations in the agreement that
you heard from Ms. Guymon, it appears to me that their offer is
better than what the estate is getting pursuant to the
settlement with the DIP lender. So my suggestion, Your Honor,
and request, is that Your Honor continue this matter, so
continuing the motion to approve a settlement to perhaps a
week, week and a half, when Your Honor is back, and then during
that time frame, I would file -- I would classify it more as an
amendment to the motion to approve the settlement, so it would
be a motion to approve a settlement, or alternatively, a 363
sale, and set forth the terms as indicated between myself and
Ms. Guymon that were on the record earlier today, which would
give the -- any party an opportunity to come in and overbid.

Unfortunately, as I indicated earlier, this isn't a
perfect casé in a perfect world, and the requests by Mead
Johnson, I don't believe it's something that the estate could
accomplish, and doesn't have the funds to litigate that
particular issue. Mead Johnson has not come to the table
saying that they're willing to give concrete funds that are
non-refundable to the estate, or even pay for such Litigation.
Accordingly, the estate is between the proverbial rock and a
hard place, looking at potentially settling with Mr. Hughes or
alternatively selling the assets, subject to all liens and

encumbrances, as-is/where-is, without any warranties or

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representations, and if someone is interested in purchasing
those assets, they would have an opportunity to do so.

THE COURT: Okay.

MR. SHAPTRO: So again, on behalf of the estate, I
would request this Court to continue this matter to a
particular date and time, and then also I guess orally
requesting to the extent necessary, shortened time so I can
file and serve an amendment to the motion which would be in
essence an alternative to the 3019 motion, which would be the
363 sale with particular terms.

THE COURT: All right. My real issue is one of
calendaring. I will be out of the district beginning on the
lith. I will be back on the bench -- I will be back on the
bench on the 23rd. And the 23rd is not great. The 24th, I
already have pending matters as it relates to Medolac, set for
1:30, and it already has the afternoon.

I am sensitive, and I understand the desire to have
this matter move forward swiftly, and I am also, concomitantly,
interested in making sure that parties have the opportunity to
properly evaluate the alternative proposed mechanism for
liquidating the assets of the estate that's come forward as a

result of the dialogue with the Court here today.

My question, Mr. Shapiro, is this. We're here on
August 6th. When would you contemplate having -- and I'm just
going to ask you. When would you contemplate having a motion

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to amend the settlement motion on file?

MR. SHAPIRO: Presuming that Ms. Guymon and I could
perhaps work together to make sure that we both agreed to the
applicable terms, I would -- hopefully that -- it would be no
jater than the following Monday, if not sooner. So in essence,

no later than the 9th.

THE COURT: Okay.

MR. SHAPIRO: But it is possible that it could be
filed perhaps even tomorrow, but I -- out of an abundance of
caution, I would say the Sth.

THE COURT: All right.

Ms. Guymon, is that an issue for you? We'fre here at
almost noon on a Friday. We're talking about filing a motion
on Monday that has some very substantive terms to it. Are you
comfortable with an August 9th date for contemplated motion?
Again, adding the sale piece to the existing motion to approve
the settlement?

MS. GUYMON: Yes, Your Honor.

THE COURT: All right. So if that motion is filed by
August 9th, the next question is, because it seems to be my
bailiwick this week in connection with these motions to deal
with the question of service. And an opportunity for parties
to do legitimate due diligence as it relates to potential
competing bids. How long, Mr. Shapiro, would be a reasonable

period of time do you believe for conducting that sort of due

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1]} diligence?
2 MR. SHAPIRO: Your Honor, just to inquire regarding
3]) service?
4 THE COURT: Right. Well, I have --
5 MR. SHAPIRO: Of the motion --
6 THE COURT: I have twofold concerns. One is making

7 sure that the parties have full notice and an opportunity to be
8] heard as it relates to the hearing on the motion, and an |
9} opportunity to bid. I'm trying to get, in my own mind, sort of
10} a series of dates that will allow the motion to be filed, the
11} Court to consider it, then the actual auction itself. And
12} those are the three sort of components that I'm looking at
13} here. And I'm asking because I want input from the trustee.
144 [t's your motion. I want to make sure that the dates that I
15 pick are consistent with your calendar.
16 MR. SHAPIRO: Thank you, Your Honor. Thank you for
17} clarifying, and Brian Shapiro on behalf of the estate.
18 Your Honor, if the motion was filed and served on the
19} 9th, it would give parties an opportunity hopefully they would
20], receive it within a few days, and then therefore having a
21} potential hearing -- assuming Mr. Hughes is agreeable, it could
22|} be done when you come back on the 24th, but let me express
23} another issue and concern.
24 Is that the estate is not in control of the facility,

25|)/nor assets of the bankruptcy estate, pursuant to the agreement

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with the DIP lender. However, there are administrative costs,
including potential rent costs, which are going to accrue for
the month of August, as well as potential utilities, which may
accrue, and perhaps that may be hypothetically nominal at best.
As much as I would like to say, Your Honor, that perhaps we
could have the hearing the week of the 16th, assuming Mr. Cram,
on behalf of his client, is willing to extend the appropriate
deadlines and having the hearing when you return on the 24th or
so, would certainly be sufficient for the estate.

However, there is the concern of -- again, the
administrative expenses, which may be incurring again, just so
everyone is well aware, the estate is not in control of these
particular assets. They are in the control of the DIP lender.

THE COURT: So your idea, conceptually here, is just
so I'm walking through it as I'm making notes, as we go. Have
the amended motion on file, and served on August the 9th. Have
a hearing as it relates to the sale procedures sometime during
the week of the loth, and then conduct the sale hearing, given
the fact that we have Medolac matters already set for August
24th? Is that consistent with your calendar and what your
comments were?

MR. SHAPIRO: Yes, Your Honor.

THE COURT: Okay. Fair enough. Let's see. Next, a
big piece of that puzzle is Mr. Hughes.

Does that time frame work within Mr. Hughes'

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willingness to stand down as it relates to foreclosure, as long
as we hit those benchmarks, Mr. Cram?

MR. CRAM: Yes, Your Honor. And I just want to add,
Iomean, for lack of the most important benchmark, I think, you
know, confirmation that Prolacta actually makes the deposit of
the $1.65 million. I mean, that seems to me to be the linchpin
of continuing this process out. I mean, if Prolacta does not
do that, my client would request that the Court approve the
settlement. But conditioned upon Prolacta making the deposit
that they represented they're going to make today, my client
would agree to those -- to the benchmarks that were just
outlined.

THE COURT: All right. That's helpful. Thank you,
Mr. Cram on behalf of Mr. Hughes. I finally got it right
today, Mr. Cram.

Ms. Guymon, workable dates? The 9th to have the
hearing -- or excuse me. The amended motion filed. A hearing
on the procedures sometime during the week of the 16th, and
then an auction sale when I get back in the office on the 24th,
to run concurrently with the other matters that are pending in
this case?

MS. GUYMON: Yes, Your Honor. I do want to represent
that I, too, will be out of the office the week of the 16th,
but my office can still participate in the procedures hearings.

THE COURT: All right. That --

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MS. GUYMON: I will be here on the 24th.
THE COURT: Okay. Fair enough. Okay. That's
helpful.
Mr. Livermon, I hope you're -- you're three hours in
front of us anyway, so you're already -- have scheduled
questions usually when I do matters like this. Are those

dates, the 9th for the amended motion, a hearing sometime
during the week of the 16th for procedures and then the actual
sale on the 24th, a workable time frame from the standpoint of
Liquid Gold?

MR. LIVERMON: Yes, Your Honor, they are workable. I
have a conflict with the 24th, but we will make sure that
Liquid Gold is adequately represented at the matter -- the
auction on the 24th, so do not schedule around that.

THE COURT: All right.

MR. LIVERMON: But thank you for asking.

THE COURT: Okay. And Mr. Driscoll, Mr. Shea, on
behalf of Mead Johnson, that gets the motion as amended before
the parties very quickly. It gives an opportunity to look at
the procedures aspect of it, and weigh in at the hearing that I
would set sometime on the week of the 16th, and then the 24th,
the date for the sale. Is that a workable time frame from the
standpoint of Mead Johnson?

MR. DRISCOLL: Your Honor, with respect to whether we

can attend those? Yes. I'd need to consult with my client

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about whether we're going to be able to participate in the
auction if we're not able to get our diligence.

Your Honor, if I may belabor on one point, I think
this is something that I did address during my colloquy, but
it's -- if we're going to participate in an auction, which we
very well may, and we very well may under these conditions.
I'd have to consult with my client, and those conditions -- if
we're competing against Prolacta's stalking horse bid, if
that's what it's going to be characterized as, and that bid is
as-is/where-is, where does that leave a debtor who buys the
asset? If we are the ultimate successful purchaser, is it
Prolacta'’s position that anyone else who competes and is the
successful purchaser is therefore then liable under the
doctrines of success reliability or other theory? That is a
critical point that needs to be answered before anyone can move
forward. There may be other bidders other than Mead Johnson
out there, and this is a very critical point for us. Thank
you, Your Honor.

THE COURT: And of course, you can make a decision
whether or not to bid based on what the trustee actually says
the terms of the auction will be. All right. Thank you,

Mr. Driscoll.

Mr. Zirzow, timing, reasonable with respect to the

proposal as it relates to this motion and how we'll move

through it?

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MR. ZIRZOW: Your Honor, the dates work. Thank you.
THE COURT: All right. Ms. McHenry, on behalf of M-2

Lease Fund, no ox particularly necessarily in the -- well, no
dog, I suppose; an ox gets gored, dogs are in fights. I don't

think M-2 Lease Fund particularly has a dog in this fight, and
yet, you're a lessor here, and you understand the terms of the
proposed sale, or at least the schedule for the proposed sale.
Is that a workable schedule from the standpoint of M-2?

MS. MCHENRY: This is Megan McHenry. We are fine
with that schedule. We just want to make sure that any sale is
subject to M-2 Lease Fund's purchase money security interests
in the equipment.

THE COURT: All right. Very well. Thank you for
that. That's helpful. I think I've exhausted those who are
involved here. I haven't heard anyone strenuously or
stridently objecting to that time schedule.

So the last question I have then, Mr. Shapiro, is the
idea would be to actually have a hearing on the sale procedure
sometime during the week of the 16th. Any particular dates to
avoid?

MR. SHAPIRO: Your Honor, I certainly have ~-
depending on times, I have availability that entire week.

THE COURT: All right.

MR. SHAPIRO: I am here.

THE COURT: Then here's what I'm going to do for

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purposes of the record today. Based on the record as it's been
developed here, and the arguments of counsel, which were
appreciated and helpful to the Court, I believe that it's in
the estate's best interests to continue this motion to approve
the settlement. I will continue it until August 24th at
1:30 p.m.

Ms. Shim?

With the understanding that by August 9th of 2021,
the trustee will file an amended motion to approve with an
alternative option of a sale, with the stalking horse being
Prolacta, the terms of which will be developed by the trustee,
not the Court, and that'll have to happen, obviously, in
communication with Ms. Guymon and Prolacta.

Once that's on file, we will have a hearing on the
motion as amended and the purpose of that hearing will be to
consider the sale procedures piece of that motion. It will be
sometime during the week of August 16th. I can't give you the
specific date on that as I'm sitting here right now. I will
coordinate with the other judges here. Someone will be
available to hear this matter during the week of August 16th.
When I have that date, Mr. Shapiro, my courtroom deputy will
communicate with you, so that you can incorporate that into
your papers.

The Court here today authorizes the hearing on the

amended motion on shortened time to avoid any questions or

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1} concerns in that regard. When I have that date, Mr. Shapiro,

2} you'll have it, and I'll have it to you before the end of the

3]} day, assuming that I can communicate with my other judges, and
4] get a firm availability during that week of the 16th.

5 The hearing then will be on August 24th, on the

6] amended motion, and again, Mr. Shapiro, that one is a --

7} obviously, shortened time date. If you file a motion to have

8] the amended motion heard on shortened time, you can use August

9] 24th at 1:30 p.m. as the date for the hearing -- or the sale
10} hearing.
li Questions from the standpoint of the trustee, who

12} will have to take the laboring oar in putting this process in
13] motion?

14 MR. SHAPIRO: Brian Shapiro on behalf of the estate.
15} I don't have any questions. Actually, let me rephrase. I do

16 have one question, Your Honor.

17 THE COURT: All right.
18 MR. SHAPTRO: So yes, I'm assuming the -- I will be
19] filing a motion -- an amended motion, in a sense, to approve

20]/ the settlement and/or the motion to sale. The procedures

21} aspect of that motion will be heard sometime in the 16th, and I
22|) believe Your Honor is --

23 THE COURT: The week of the 16th, and I'll get you

24} the date during --

25 MR. SHAPTRO: Oh, the week of --

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1 THE COURT: Right.
2 MR. SHAPIRO: Right, right. The week of the 16th,
3] and Your Honor is orally granting, in essence, a shortened time
4} for that to be heard. And then --
5 THE COURT: f'm granting specifically orally the
64 opportunity to have that heard --
7 MR. SHAPTRO: Thank you.
8 THE COURT: -- on shortened time, so there's no room
9}} for doubt later, should somebody else look at the transcript
LO} today, Mr. Shapiro. Go right ahead.
LL MR. SHAPIRO: Thank you. And then after that
12}} hearing, the actual -- I guess after that, it gets approved,
13] and then subsequently, the hearing on the underlying
14} sale/settlement will be on the 24th. Would that be --
15 THE COURT: That's correct. At 1:30.
16 MR. SHAPTRO: Correct. Okay. All right. The only
17} other comment I have, and it's simply a coincidence, Your
18] Honor, is for the parties to be aware, the 341 meeting for
19}, Medolac is actually tomorrow -- or on Monday, I didn't realize
20 that. It is at 11:30. So for the parties that are in &&
21]} attendance, I do intend on continuing that, so don't worry
22] about attending, because obviously, it'll lead with you, Your
23} Honor, so I will continue that matter. I don't know the new
24 date and time but I will be continuing that matter as well.

25 THE COURT: Okay.

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MR. SHAPTRO: I didn't realize that when you decided
to make the hearing on August 9th.

THE COURT: Yeah. Well, that's why I wanted to walk
through this all the way through with the party who's going to
take the laboring oar as it relates to putting the sale motion
in process as amended. Mr. Shapiro, any further questions?

MR. SHAPTRO: No, Your Honor.

THE COURT: All right. The Court first thanks all of
the parties who have appeared here today. The record with
respect to this motion to approve settlement is much more fully
developed as a result of the hearing. The matter was heard on
shortened time, and yet the parties were able to bring forward
substantive information that is of assistance to the Court in
figuring out what a reasonable way to proceed is.

That having been said, the dates that I've set are as
follows; the amended motion is to be filed by August 9th, and
then the hearing will be sometime during the week of the 16th.
Stay tuned.

Mr. Shapiro, as soon as I know what that date is, I
will let you know, and that will be today before I leave.

And then the sale hearing will be on August 24th at
1:30, if the sale procedures are approved during the hearing on
the week of the 16th.

So with that, Item Number 1, Ms. Shim, is simply

continued until August 24th at 1:30.

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The Court will enter a short order that sets forth
the dates that I've set here previously.

Mr. Shapiro, you know when you request shortened
time, what dates you can use in your papers.

With that, Ms. Shim, what have I managed to overlook
on my 9:30 calendar today?

THE CLERK: Nothing else, Your Honor.

THE COURT: All right. Seeing nothing further, we're

adjourned. Stay safe, stay healthy, counsel, and have a good

weekend.
THE CLERK: Thank you, Your Honor.
MR. SHAPTRO: Thank you, Your Honor.
MR. DRISCOLL: Thank you very much, Your Honor.
(Proceedings concluded at 11:58 a.m.)
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1 CERTIFICATION
2
3 I, Lisa Luciano, court-approved transcriber, hereby

4} certify that the foregoing is a correct transcript from the
of official electronic sound recording of the proceedings in the

6] above-entitled matter, and to the best of my ability.

  

 

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8 /
10 LISA LUCIANO, BAER? NO. 327 DATE: August 7, 2021

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